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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

                                                                      )
    In re:                                                            ) Chapter 11
                                                                      )
    TUPPERWARE BRANDS CORPORATION, et al.,1                           ) Case No. 24-12156 BBB
                                                                      )
                             Debtors.                                 ) -RLQW$GPLQLVWUDWLRQ5HTXHVWHG
                                                                      )

                                   DECLARATION OF
                         BRIAN J. FOX, CHIEF RESTRUCTURING
                   OFFICER OF TUPPERWARE BRANDS CORPORATION,
             IN SUPPORT OF CHAPTER 11 PETITIONS AND FIRST DAY MOTIONS

             I, %ULDQ-)R[KHUHE\GHFODUHXQGHUSHQDOW\RISHUMXU\

             1.     , DP WKH &KLHI 5HVWUXFWXULQJ 2IILFHU RI 7XSSHUZDUH %UDQGV &RUSRUDWLRQ

    WKH “CRPSDQ\´DQGWRJHWKHUZLWKWKHRWKHUDERYH-FDSWLRQHGGHEWRUVDQGGHEWRUVLQSRVVHVVLRQ

the “Debtors,´DQGFROOHFWLYHO\ZLWKWKHLUQRQ-GHEWRUDIILOLDWHV “7XSSHUZDUH”).

                                                   Introduction

             2.     7XSSHUZDUH LV D OHDGLQJ JOREDO EUDQG IRU IRRG VWRUDJH DQG RWKHU NLWFKHQ DQG

EHYHUDJH VROXWLRQV DQG DQ LFRQLF $PHULFDQ FRPSDQ\  )RXQGHG LQ  DQG KHDGTXDUWHUHG LQ

2UODQGR)ORULGD7XSSHUZDUHFXUUHQWO\HPSOR\VDJOREDOZRUNIRUFHRIRYHU HPSOR\HHVLQ

 FRXQWULHV DQG SDUWQHUV ZLWK D ZRUOG-ZLGH VDOHV IRUFH RI RYHU  LQGHSHQGHQW VDOHV

FRQVXOWDQWVZKRVHOOWKH'HEWRUV¶SURGXFWVRQDIUHHODQFHEDVLV WKH “6DOHV)RUFH´FRPSULVHGRI

the “,QGHSHQGHQW&RQVXOWDQWV´ LQWRQHDUO\ FRXQWULHV)RUWKHILVFDO\HDU7XSSHUZDUH¶V

UHYHQXHZDVDSSUR[LPDWHO\ ELOOLRQ7XSSHUZDUH¶VFRPPRQVWRFNLVSXEOLFO\WUDGHGRQWKH

1HZ<RUN6WRFN([FKDQJH



1
      $FRPSOHWHOLVWRIHDFKRIWKH'HEWRUVLQWKHVHFKDSWHUFDVHVPD\EHREWDLQHGRQWKHZHEVLWHRIWKH'HEWRUV¶
      SURSRVHGFODLPVDQGQRWLFLQJDJHQWDWKWWSVGPHSLTFRP7XSSHUZDUH. 7KHORFDWLRQRI the 'HEWRUV¶VHUYLFH
      DGGUHVVLQWKHVHFKDSWHUFDVHVLV62UDQJH%ORVVRP7UDLO2UODQGR)/
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               7XSSHUZDUH KDV DSSUR[LPDWHO\  PLOOLRQ RI IXQGHG GHEW REOLJDWLRQV

FRQVLVWLQJSULPDULO\RIDVLQJOHILUVWOLHQFUHGLWIDFLOLW\7KH'HEWRUV—ZKLFKFRQVLVWRIQLQH86

HQWLWLHVDQGRQH6ZLVVHQWLW\—DUHWKHREOLJRUVRQWKHIDFLOLW\7KH'HEWRUVDOVRKDYHGR]HQVRI

non-GHEWRUIRUHLJQRSHUDWLQJVXEVLGLDULHVLQFRXQWULHVDOORYHUWKHZRUOGWKDWDUHQRWREOLJRUVRQ

WKH IXQGHG GHEW  :LWK WKH H[FHSWLRQ RI DQ  PLOOLRQ EULGJH ORDQ HQWHUHG LQWR ODVW PRQWK WKH

'HEWRUVKDYHQRIXQGHGGHEWRWKHUWKDQWKHILUVW-OLHQGHEWERUURZHGXQGHUWKH&UHGLW$JUHHPHQW

8QWLO UHFHQWO\ WKH WHUP ORDQ IDFLOLW\ ZDV KHOG E\ WHQ OHQGHUV FRQVLVWLQJ HQWLUHO\ RI LQFXPEHQW

FRPPHUFLDOEDQNVOHGE\:HOOV)DUJRWKHDGPLQLVWUDWLYHDJHQWDQGDVLJQLILFDQWOHQGHU

        4.       )RU GHFDGHV 7XSSHUZDUH¶V GLUHFW VHOOLQJ EXVLQHVV PRGHO WKULYHG RIIHULQJ

LQGLYLGXDOV DFURVV WKH JOREH—SUHGRPLQDQWO\ ZRPHQ—DQ RSSRUWXQLW\ WR EXLOG WKHLU RZQ

EXVLQHVVHVDQGGHYHORSYDOXDEOHOHDGHUVKLSDQGILQDQFLDOPDQDJHPHQWVNLOOVZKLOHDOVRFHPHQWLQJ

WKH 7XSSHUZDUH EUDQG LQ WKH KHDUWV DQG KRPHV RI FRQVXPHUV  ,Q UHFHQW \HDUV KRZHYHU WKH

KLVWRULFDO VWUHQJWKV RI D ZLGHVSUHDG GLUHFW VHOOLQJ PRGHO EHJDQ WR WXUQ LQWR ZHDNQHVVHV

The &RPSDQ\¶V IRFXV RQ LWV GLUHFW VDOHV PRGHO XOWLPDWHO\ FDPH DW WKH FRVW RI GHYHORSLQJ DQ

RPQLFKDQQHOVWUDWHJ\RUHYHQPRGHUQH-FRPPHUFHLQIUDVWUXFWXUHWRVXSSRUWLWV6DOHV)RUFH7KHVH

LVVXHV DQG RWKHUV GHVFULEHG LQ JUHDWHU GHWDLO KHUHLQ UHVXOWHG LQ WKH &RPSDQ\ LVVXLQJ D ³JRLQJ

FRQFHUQ´ ZDUQLQJ LQ D FRQQHFWLRQ ZLWK LWV WKLUG TXDUWHU )< HDUQLQJV UHOHDVH  7KLV QHZV

SURPSWHG KHDGOLQHV WKDW ³WKH SDUW\ ZDV RYHU´ IRU 7XSSHUZDUH H[DFHUEDWLQJ 6DOHV )RUFH

GHWHULRUDWLRQ

               TKLV RSHUDWLRQDO GHWHULRUDWLRQ EHJDQ WR SXW VLJQLILFDQW VWUHVV RQ WKH &RPSDQ\¶V

FDSLWDOVWUXFWXUH E\WKHHQGRIWXUQLQJLQWRWKHQHZ\HDU,Q1RYHPEHUWKH&RPSDQ\

UHWDLQHG$ 0. The &RPSDQ\ VXEVHTXHQWO\ UHWDLQHG 0RHOLV WRSURYLGHILQDQFLDODGYLVRU\VHUYLFHV

LQFRQQHFWLRQZLWKLWVEDODQFHVKHHWLQFOXGLQJEXWQRWOLPLWHGWRWKHPDUNHWLQJDQGVDOHRIDOORU




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VXEVWDQWLDOO\ DOO RI LWV DVVHWV DQG SRWHQWLDO UHILQDQFLQJ UHVWUXFWXULQJ DQGRU UHFDSLWDOL]DWLRQ

WUDQVDFWLRQV DQG .LUNODQG  (OOLV DV OHJDO FRXQVHO 7KH &RPSDQ\ HQWHUHG LQWR UHVWUXFWXULQJ

GLVFXVVLRQV ZLWK :HOOV )DUJR ZKR UHWDLQHG 0F*XLUH :RRGV DV FRXQVHO DQG 53$ DV ILQDQFLDO

DGYLVRUDQGWKHRWKHUWHUPOHQGHUV,QFRQVXOWDWLRQZLWKWKHOHQGHUVLQ$SULO WKH&RPSDQ\

GHWHUPLQHGWRODXQFKDPDUNHWLQJSURFHVVLQSDUDOOHOWRQHJRWLDWLRQVZLWKLWVOHQGHUVUHJDUGLQJD

VWDQGDORQHUHVWUXFWXULQJ

              7KH PDUNHWLQJ SURFHVV JHQHUDWHG VLJQLILFDQW LQWHUHVW IURP QXPHURXV SDUWLHV

$IWHU H[HFXWLQJ1'$VZLWKSDUWLHVWKH'HEWRUVUHFHLYHGLQGLFDWLRQVRILQWHUHVWDWYDOXDWLRQV

that, ZKLOH ZHOO LQVLGH WKH SULQFLSDO DPRXQW RI WKH WHUP ORDQ ZHUH VLJQLILFDQW  8OWLPDWHO\

KRZHYHU DIWHU PXOWLSOH URXQGV RI QHJRWLDWLRQ ZLWK D QXPEHU RI WKHVH LQWHUHVWHG ELGGHUV RYHU

VHYHUDOPRQWKVWKHPDUNHWLQJSURFHVVGLGQRWSURGXFHDQ\RIIHUVWKDWZHUH VXIILFLHQWO\DWWUDFWLYH

WRWKHWHUPOHQGHUV$FFRUGLQJO\RQ$XJXVWWKH&RPSDQ\DQGLWVOHQGHUVH[HFXWHGD'HEW

5HVWUXFWXULQJ$JUHHPHQWWKDWUHDOORFDWHGDQGUHVWUXFWXUHGWKH&RPSDQ\¶VVHFXUHGGHEWWRJLYHWKH

&RPSDQ\OLTXLGLW\DQGEUHDWKLQJURRP WRH[HFXWHDWXUQDURXQG

              ,Q FRQQHFWLRQ ZLWK WKH 'HEW 5HVWUXFWXULQJ $JUHHPHQW WKH &RPSDQ\ FUHDWHG D

UHVWUXFWXULQJFRPPLWWHHRIWKH%RDUGRI'LUHFWRUV WKH³7UDQVIRUPDWLRQ&RPPLWWHH´ DQGUHWDLQHG

VHYHUDOWXUQDURXQGYHWHUDQVWRKHOSPDQDJHOLTXLGLW\HYDOXDWHWKHEXVLQHVVDQGGHYHORSVWUXFWXUDO

DQGVWUDWHJLFLQLWLDWLYHVWRDGGUHVVNH\ZHDNQHVVHVDQGUHQHZWXUQDURXQGHIIRUWV7KH 'HEWRUVDOVR

DSSRLQWHGDQHZ&KLHI([HFXWLYH2IILFHUZKRKHOSHGUHFUXLWDQDFFRPSOLVKHGPDQDJHPHQWWHDP

WROHDGWKHEXVLQHVV

              BXW OLTXLGLW\ LVVXHV TXLFNO\ UHVXUIDFHG H[DFHUEDWLQJ WKH &RPSDQ\¶V RSHUDWLRQDO

FKDOOHQJHVDQGSHUSHWXDWLQJWKHRYHUKDQJRIQHJDWLYHSXEOLFLW\,Q )HEUXDU\WKH'HEWRUV

PLVVHG DQ LQWHUHVW SD\PHQW RQ WKH WHUP ORDQ UHTXLULQJ DGGLWLRQDO GLVFORVXUHV UHJDUGLQJ WKH




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&RPSDQ\¶V ILQDQFLDO SRVLWLRQ  2Q )HEUXDU\   WKH 'HEWRUV DQG FHUWDLQ RI WKHLU OHQGHUV

HQWHUHGLQWRD)RUEHDUDQFH$JUHHPHQWFRQWDLQLQJPLOHVWRQHVIRUDVHFRQGPDUNHWLQJSURFHVVDQG

DVDFRQWLQJHQF\FKDSWHU 11 SUHSDUDWLRQV

              *XLGHG E\ WKH 7UDQVIRUPDWLRQ &RPPLWWHH WKH &RPSDQ\ VRXJKW DQ\ DQG DOO

SURSRVDOVUDQJLQJIURPRXW-RI-FRXUWUHFDSLWDOL]DWLRQVWUXFWXUHVWRDVVHWVDOHVWRZKROH-FRPSDQ\

WUDQVDFWLRQV  $JDLQ WKH &RPSDQ\ UHFHLYHG PXOWLSOH LQGLFDWLRQV RI LQWHUHVW DW VLJQLILFDQW

YDOXDWLRQV7KURXJKWKH6SULQJRIWKH 7UDQVIRUPDWLRQ&RPPLWWHHWKHH[HFXWLYHOHDGHUVKLS

WHDPDQGWKH&RPSDQ\¶VDGYLVRUVFDUHIXOO\HYDOXDWHGSURSRVDOVDQGQHJRWLDWHGZLWKLQWHUHVWHG

FRXQWHUSDUWLHV WR LGHQWLI\ D FRPSUHKHQVLYH VROXWLRQ IRU WKH &RPSDQ\  7KLV VHFRQG SURFHVV

UHVXOWHGLQDWUDQVDFWLRQSURSRVDOWKDW—DIWHUH[WHQVLYHGHYHORSPHQWDQGQHJRWLDWLRQ—IHOOWKURXJK

RQWKHHYHRIH[HFXWLRQJRLQJLQWRWKH-XO\KROLGD\ZHHNHQG

             )DFLQJ HYHU PRUH XUJHQW OLTXLGLW\ QHHGV DQG FRQWLQXHG RSHUDWLRQDO VWUHVV the

&RPSDQ\UHVWDUWHGPDUNHWLQJHIIRUWVIRUDWKLUGWLPHDIWHUWKH-XO\ZHHNHQG7KLVWKLUGURXQG

RIPDUNHWLQJUHTXLUHGDQH[WHQVLRQRIWKH)RUEHDUDQFH$JUHHPHQWDQGLQFRQQHFWLRQWKHUHZLWK

WKH'HEWRUVOLIWHGFHUWDLQUHVWULFWLRQVRQWUDGLQJWKHWHUPORDQVZKLFKZHUHFRQWDLQHGLQWKH&UHGLW

$JUHHPHQW DQG FHUWDLQ FRQILGHQWLDOLW\ DJUHHPHQWV  7KHUHDIWHU LQ -XO\ 4 D PDMRULW\ E\

SULQFLSDODPRXQWRIWKH'HEWRUV¶ILUVW-OLHQGHEWWUDGHGWRWKUHHQHZKROGHUV6WRQHKLOO$OGHQDQG

D%$0/WUDGLQJGHVN7KHWKUHHQHZOHQGHUVIRUPHGDQDGKRFJURXS WKH³$G+RF*URXS´ DQG

UHWDLQHG 'HFKHUW DV FRXQVHO  $QRWKHU OHQGHU :H[IRUG DOVR ERXJKW D SRUWLRQ RI WKH GHEW

The 'HEWRUVXQGHUVWDQGWKDWWKHVHQHZOHQGHUVSXUFKDVHGWKHGHEWEHWZHHQWKUHHDQGVL[ FHQWVRQ

WKH GROODU 7KH LPSOLHG YDOXH RI WKLV SXUFKDVH—EHWZHHQ  PLOOLRQ DQG  PLOOLRQ LQ WKH

DJJUHJDWHIRUDPDMRULW\RIWKHPLOOLRQGHEW—LVZHOOEHORZWKHYDOXHRIYDULRXVLQGLFDWLRQV

RILQWHUHVWWKH&RPSDQ\KDVUHFHLYHGLQLWVPDUNHWLQJSURFHVVHVWRGDWH




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       11.     7KH&RPSDQ\HQWHUHGLQWRGLVFXVVLRQVZLWKWKH$G+RF*URXSUHJDUGLQJDJRLQJ-

FRQFHUQWUDQVDFWLRQLQZKLFKWKH$G+RF*URXSZRXOGDFTXLUHWKH7XSSHUZDUHEUDQGQDPHVHOHFW

DVVHWVLQWKH8QLWHGStatesDQGVHOHFWIRUHLJQVXEVLGLDULHV:HHNVRILQ-GHSWKGLOLJHQFHPHHWLQJV

RFFXUUHGDPRQJSULQFLSDOVDQGDGYLVRUVUHJDUGLQJWKH&RPSDQ\¶VEXVLQHVVDQGVWUXFWXUHDQGWKH

SURSRVHGJR-IRUZDUGEXVLQHVVPRGHO

       12.     ,Q $XJXVW WR IXQG WKHLU GLOLJHQFH SURFHVV WKH $G +RF *URXS SURYLGHG Dn

 PLOOLRQEULGJHORDQVHFXUHGE\FHUWDLQRIWKH'HEWRUV¶LQYHQWRU\JLYLQJWKH'HEWRUVDFFHVVWR

DSSUR[LPDWHO\PLOOLRQRISURFHHGV WDNLQJLQWRDFFRXQWD2,' 7KH$G+RF*URXSDV

PDMRULW\OHQGHUVGLUHFWHGWKDWWKHLQYHQWRU\EHUHOHDVHGIURPWKHFROODWHUDOVHFXULQJWKHH[LVWLQJ

WHUPORDQWRVHUYHDVFROODWHUDOIRUWKHEULGJHORDQ7KH$G+RF*URXSH[FOXGHG:H[IRUGIURP

WKHEULGJHORDQDQG:H[IRUGVXEVHTXHQWO\ILOHGDODZVXLWDJDLQVWWZRPHPEHUVRIWKH$G+RF

*URXSLQFRQQHFWLRQZLWKWKHEULGJHORDQZKLFKUHPDLQVSHQGLQJ 7KH'HEWRUVKDYHHQFRXUDJHG

WKH$G+RF*URXSWRHQJDJHFRQVWUXFWLYHO\ZLWK:H[IRUGQRWZLWKVWDQGLQJWKHSHQGLQJVXLWEXW

XQGHUVWDQGWKDWWR-GDWHWKH$G+RF*URXSKDVKHVLWDWHGWRGRVR

            )URPWKHRXWVHWWKH'HEWRUVSURSRVHGWKDWDQ\VDOHWRWKH$G+RF*URXSZRXOGEH

LPSOHPHQWHG WKURXJK D FKDSWHU  SURFHHGLQJ DQG IXQGHG E\ D GHEWRU-LQ-SRVVHVVLRQ ILQDQFLQJ

IDFLOLW\SURYLGHGE\WKH$G+RF*URXS7KH&RPSDQ\VXEPLWWHGDIRUPRIDVHFWLRQVDOHasset

SXUFKDVH DJUHHPHQW WR WKH $G +RF *URXS DQG D SURSRVHG ',3 EXGJHW  7KH $G +RF *URXS

LQGLFDWHGWKDWD',3WHUPVKHHWDQGSURSRVHG',3RUGHUZRXOGEHIRUWKFRPLQJ

       14.     ,QVWHDGRQ$XJXVWWKH$G+RF*URXSLQIRUPHGWKH&RPSDQ\WKDWLWZDV

VWURQJO\ FRQVLGHULQJ LPSOHPHQWLQJ LWV SURSRVHG DFTXLVLWLRQ WKURXJK DQ RXW-RI-FRXUW VWULFW

IRUHFORVXUH RQ D VXEVHW RI WKH &RPSDQ\¶V DVVHWV LQFOXGLQJ WKH 7XSSHUZDUH EUDQG QDPH

The &RPSDQ\LQIRUPHGWKH$G+RF*URXSWKDWLWZDVQRWVXSSRUWLYHRIWKLVDSSURDFKIRUQXPHURXV




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UHDVRQVLQFOXGLQJWKDWLWGLGQRWSURYLGHQRWLFHDQGDQRSSRUWXQLW\WR EHKHDUGWRWKH&RPSDQ\¶V

VWDNHKROGHUVLQDQRSHQIRUXP:HHNVRIGLVFXVVLRQUHJDUGLQJWKHVHFRPSHWLQJLPSOHPHQWDWLRQ

PHFKDQLVPVHQVXHGFXOPLQDWLQJLQDOHWWHUIURPWKH$G+RF*URXSWRWKH7XSSHUZDUHERDUGRI

GLUHFWRUVRQ6HSWHPEHUDWWDFKHGKHreto as Exhibit ADQGDOHWWHUIURPWKH&RPSDQ\WR

WKH$G+RF*URXSLQUHVSRQVHRQ6HSWHPEHUDWWDFKHGKHUH to as Exhibit B. The $G+RF

*URXS VHQW D UHVSRQVLYH OHWWHU RQ 6HSWHPEHU   ZKLFK LV DWWDFKHG KHUHWR DV Exhibit C.

8OWLPDWHO\DIWHUVLJQLILFDQWGHOLEHUDWLRQWKHERDUGRIGLUHFWRUVGHWHUPLQHGWKDWJLYHQWKHQXPEHU

RIFRQVWLWXHQWVDQGSDUWLHVLQLQWHUHVWLQYROYHGLWFRXOGQRWVXSSRUWDVWULFWIRUHFORVXUH.

             $FFRUGLQJO\WKH'HEWRUVKDYHFRPPHQFHGWKHVHFKDSWHUFDVHVWRXWLOL]HWKHLU

OLPLWHGFDVKRQKDQGWRIXQGDQDSSUR[LPDWHO\-GD\ELGGLQJSURFHVV 6XEVWDQWLDOO\FRQFXUUHQWO\

KHUHZLWKWKH'HEWRUVLQWHQGWRILOHDQHPHUJHQF\ELGGLQJSURFHGXUHVPRWLRQVHHNLQJWKH&RXUW¶V

DSSURYDO RI WKDW WLPHOLQH  7KH PRWLRQ ZLOO EH DFFRPSDQLHG E\ D GHFODUDWLRQ WKH “6WHLQEHUJ

'HFODUDWLRQ”) IURP$GDP6WHLQEHUJRI0RHOLVDWWHVWLQJWRWKH PRQWKVRIPDUNHWLQJWKDWKDYH

DOUHDG\ RFFXUUHG ZKLFK VXSSRUWV SURFHHGLQJ H[SHGLWLRXVO\ ZLWK D -GD\ ILQDO SKDVH RI WKH

PDUNHWLQJSURFHVV7KHELGGLQJSURFHGXUHVPRWLRQSURSRVHVWKDWDOOELGVPXVWEHLQFDVK *LYHQ

WKHOHYHORILQWHUHVWLQWKHPDUNHWLQJSURFHVVWRGDWH WKH'HEWRUVEHOLHYHWKDWDQDOO-FDVKDXFWLRQ

ZLOOIRVWHUDFRPSHWLWLYHELGGLQJHQYLURQPHnt.

             7KH 'HEWRUV KDYH DOVRILOHGDSURSRVHGFRQVHQVXDOFDVK FROODWHUDOPRWLRQDQG D

FXVWRPDU\VXLWHRIILUVW-GD\SOHDGLQJVWRVXSSRUWD-GD\ELGGLQJSURFHVV$VRIWKH3HWLWLRQ'DWH

WKH'HEWRUVKDYHDSSUR[LPDWHO\ PLOOLRQRIFDVKZKLFKWKH\H[SHFWZLOOEHVXIILFLHQWWRIXQG

WKLVH[SHGLWHGSURFHVV 7KH'HEWRUVXQGHUVWDQGWKDWWKH$G+RF*URXSLQWHQGVWRREMHFWWRWKHXVH

RIFDVKFROODWHUDODQGILOHDPRWLRQWRFRQYHUWWKHVHFKDSWHUFDVHVWRFDVHVXQGHUFKDSWHURI

WKH %DQNUXSWF\ &RGH WR GLVPLVV WKH FKDSWHU  FDVHV RU IRU UHOLHI IURP WKH DXWRPDWLF VWD\ WR




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H[HFXWHWKHLUIRUHFORVXUHVWUDWHJ\7KH'HEWRUVLQWHQGWRRSSRVHWKH$G+RF*URXS¶VHIIRUWVWR

VKXWGRZQWKHEXVLQHVVDQGIRUHFORVHRQWKH&RPSDQ\,QVWHDGWKH'HEWRUVZLOOVHHNWRXVHWKH

FKDSWHUSURFHVVWRSUHVHUYHWKLVLFRQLF$PHULFDQ FRPSDQ\DVDJRLQJFRQFHUQWRWKHEHQHILWRI

DOORIWKH'HEWRUV¶VWDNHKROGHUVLQFOXGLQJWKHWKRXVDQGVRIHPSOR\HHVFRQVXPHUVYHQGRUVDQG

RWKHUVWKDWGHSHQGRQDYDOXH-PD[LPL]LQJRXWFRPHKHUH.

                                  Background and Qualifications

             ,DPD0DQDJLQJ'LUHFWRUDW$OYDUH] 0DUVDO1RUWK$PHULFD//& ³$ 0”).

I ZDVDSSRLQWHG&KLHI 5HVWUXFWXULQJ2IILFHURI7XSSHUZDUHRQ0D\)RURYHUD\HDUP\

WHDPDQG,KDYHZRUNHGFORVHO\ZLWKWKH'HEWRUVWRRYHUVHHWKHLUFXUUHQWUHVWUXFWXULQJLQLWLDWLYHV

$VVXFK,DPIDPLOLDUZLWKWKH'HEWRUV¶RSHUDWLRQVEXVLQHVVDIIDLUVILQDQFLDOSHUIRUPDQFHDQG

UHVWUXFWXULQJ HIIRUWV.

             , KDYH PRUH WKDQ WKLUW\ \HDUV RI H[SHULHQFH DGYLVLQJ RQ FRUSRUDWH ILQDQFH DQG

UHVWUXFWXULQJWUDQVDFWLRQV6RPHRIWKRVHHQJDJHPHQWVLQFOXGHWKHUHSUHVHQWDWLRQRIGHEWRUVLQ

FRPSDQ\UHVWUXFWXULQJVVXFKDV*HQHVLV&DUH,QF/R\DOW\9HQWXUHV,QF*77&RPPXQLFDWLRQV

,QF'HDQ)RRGV,QF7KH5RFNSRUW&RPSDQ\3HUIRUPDQFH6SRUWV*URXS7RWHV,VRWRQHUDQG

*XOI0DUN ,QF &DHVDUV (QWHUWDLQPHQW 2SHUDWLQJ &RPSDQ\ DQG 0RPHQWLYH 3HUIRUPDQFH

0DWHULDOV,KDYHDOVRVHUYHGDVFKLHIUHVWUXFWXULQJRIILFHUDQGLQWHULPFKLHIILQDQFLDORIILFHUIRU

FRPSDQLHVLQFOXGLQJGHEWRUV-LQ-SRVVHVVLRQLQFKDSWHUFDVHV,QHDFKRIWKHVHVLWXDWLRQV,KDYH

OHG WKH UHYLHZ DQG GHYHORSPHQW RI FDVK IORZ IRUHFDVWV DQG VWUDWHJLF DQG RSHUDWLQJ SODQV WKH

HYDOXDWLRQRIFDSLWDOVWUXFWXUHDOWHUQDWLYHVDQGWKHQHJRWLDWLRQDQGLPSOHPHQWDWLRQRIUHVWUXFWXULQJ

WUDQVDFWLRQV

             $ 0LVDJOREDOEXVLQHVVDGYLVRU\ILUPWKDWWRJHWKHUZLWKLWVDIILOLDWHVHPSOR\V

RYHUSURIHVVLRQDOVLQ RIILFHVZRUOGZLGH3ULRUWRWKHGDWHKHUHRI WKH “3HWLWLRQ'DWH”),




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$ 0 ZDV HQJDJHG E\ WKH 'HEWRUV WR KHOS PDQDJH WKHLU OLTXLGLW\ LGHQWLI\ VWUDWHJLF RSWLRQV WR

HQKDQFH OLTXLGLW\ DQG SURILWDELOLW\ DQG DVVLVW ZLWK WKH GHYHORSPHQW RI D EXVLQHVV SODQ DQG

SUHSDULQJIRUWKHVHFKDSWHUFDVHV

             $V &KLHI 5HVWUXFWXULQJ 2IILFHU RI WKH 'HEWRUV , DP JHQHUDOO\ IDPLOLDU ZLWK WKH

'HEWRUV¶GD\-to-GD\RSHUDWLRQV EXVLQHVVDQGILQDQFLDODIIDLUVDQGERRNVDQGUHFRUGV,VXEPLW

WKLVGHFODUDWLRQ WKH “'HFODUDWLRQ´ WRDVVLVWWKH&RXUWDQGLQWHUHVWHGSDUWLHVLQXQGHUVWDQGLQJZK\

WKH'HEWRUVILOHGWKHVHFKDSWHUFDVHVDQGLQVXSSRUWRIWKH'HEWRUV¶FKDSWHUSHWLWLRQVDQGWKH

UHOLHI UHTXHVWHG LQ WKH PRWLRQV ILOHG DORQJ ZLWK WKH SHWLWLRQV FROOHFWLYHO\ WKH “)LUVW 'D\

0RWLRQV´ 7KHIDFWVVHWIRUWKLQHDFK)LUVW'D\0RWLRQDUHLQFRUSRUDWHGKHUHLQE\UHIHUHQFH, DP

IDPLOLDUZLWKWKHFRQWHQWVRIHDFK)LUVW'D\0RWLRQDQGEHOLHYHWKDWWKHUHOLHIUHTXHVWHGWKHUHLQLV

QHFHVVDU\IRUWKH'HEWRUVWRVPRRWKO\WUDQVLWLRQLQWRFKDSWHUDQGWRFRQWLQXHRUGLQDU\FRXUVH

RSHUDWLRQVSRVWSHWLWLRQ

        21.     ([FHSWZKHUHRWKHUZLVHQRWHGWKHVWDWHPHQWVVHWIRUWKLQWKLV'HFODUDWLRQDUHEDVHG

XSRQP\SHUVRQDONQRZOHGJHDQGH[SHULHQFHP\UHYLHZRIUHOHYDQWGRFXPHQWVDQGLQIRUPDWLRQ

FRQFHUQLQJWKH'HEWRUV¶RSHUDWLRQVILQDQFLDODIIDLUVDQGUHVWUXFWXULQJLQLWLDWLYHVDQGLQIRUPDWLRQ

REWDLQHGIURPRWKHUPHPEHUVRIWKH'HEWRUV¶PDQDJHPHQWWHDPDQGWKLUG-SDUW\DGYLVRUV,DP

DERYHHLJKWHHQ\HDUVRIDJHDQG,DPFRPSHWHQWWRWHVWLI\,IFDOOHGXSRQWRWHVWLI\,FRXOGDQG

ZRXOGWHVWLI\FRPSHWHQWO\WRWKHIDFWVVHWIRUWKKHUHLQ

                                    *       *       *        *       *

        22.     7RIDPLOLDUL]HWKH&RXUWZLWKWKH'HEWRUVWKHLUEXVLQHVVWKHFLUFXPVWDQFHVOHDGLQJ

WRWKHVHFKDSWHUFDVHVDQGWKHUHOLHIWKH'HEWRUVDUHVHHNLQJLQWKH)LUVW'D\0RWLRQV,KDYH

RUJDQL]HGWKLVGHFODUDWLRQLQWRILYHVHFWLRQV7KHfirst VHFWLRQSURYLGHVEDFNJURXQGLQIRUPDWLRQ

RQWKH&RPSDQ\¶VFRUSRUDWHKLVWRU\7KHsecond VHFWLRQSURYLGHVDQRYHUYLHZRIWKH&RPSDQ\¶V




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FXUUHQW RSHUDWLRQV  7KH third VHFWLRQ RIIHUV GHWDLOHG LQIRUPDWLRQ RQ WKH 'HEWRUV¶ SUHSHWLWLRQ

FDSLWDO VWUXFWXUH  7KH fourth VHFWLRQ GHVFULEHV WKH FLUFXPVWDQFHV OHDGLQJ WR WKH ILOLQJ RI WKHVH

FKDSWHU FDVHV. The fifth VHFWLRQVXPPDUL]HVWKHUHOLHIUHTXHVWHGLQDQGWKHOHJDODQGIDFWXDO

EDVLVVXSSRUWLQJWKH)LUVW'D\0RWLRQV

                                     Section 1: Corporate History

I.      The Founder of Fresh and the Life of the Party: Earl Silas Tupper & Brownie Wise.

        A.      The Invention of Tupperware.

             7XSSHUZDUH¶VVWRU\EHJLQVZLWK(DUO7XSSHUDIDUPHU¶VVRQZLWKDSHQFKDQWIRU

LQYHQWLQJDQGDQLQWHUHVWLQ DGYHUWLVLQJ (YHU UHVRXUFHIXO7XSSHUDVSLUHGWRDFKLHYHIDPHDQG

ULFKHVDVDQLQYHQWRU+HIRXQGLQVSLUDWLRQLQHYHU\GD\FKDOOHQJHVFRQVWDQWO\ORRNLQJIRUZD\VWR

LPSURYHGD\-to-GD\ OLIH

        24.     ,Q  7XSSHU VWDUWHG a SODVWLFV FRPSDQ\ WKH (DUO 6 7XSSHU &RPSDQ\ DOVR

NQRZQDV7XSSHU3ODVWLFV . 7XSSHU3ODVWLFVIRXQGLWVOHJVGXULQJ:RUOG:DU,,SURGXFLQJJDV

PDVNVDQGRWKHUZDUWLPHVXSSOLHs. The post-ZDUWUDQVLWLRQSHULRGPDUNHGDSLYRWDOMXQFWXUHIRU

7XSSHU 3ODVWLFV DQG WKH HQWLUH SODVWLFV LQGXVWU\ At the tLPH SODVWLFV ZHUH QRW ZLGHO\ XVHG LQ

FRQVXPHU JRRGV VR SODVWLF PDQXIDFWXUHUV KDG VLJQLILFDQW VXUSOXV SURGXFWLRQ FDSDFLW\ RQFH

KRVWLOLWLHVFHDVHG. 3ODVWLFVZHUHPDGHRI SRO\HWK\OHQHZKLFKZDV EODFN EULWWOHVOLP\ DQGVPHOOHG

EDGPDNLQJLWGLIILFXOWWRZRUN ZLWK DQGHYHQPRUHGLIILFXOWWRPDUNHW WRFRQVXPHUVZKR XQOLNH

VROGLHUVKDGa FKRLFH LQZKDWWKH\XVHG. 7XSSHUWLQNHUHG XQWLOKHFUHDWHGDGXUDEOHFOHDQDQG

WUDQVOXFHQWSODVWLF

             ThLV QHZ SODVWLF, ZKLOHDPDMRULQQRYDWLRQZDVRQO\KDOIRIWKHHTXDWLRQ—the other

KDOIZDVWKH³7XSSHU VHDO´,QVSLUHGE\WKHDLUWLJKWVHDOFRPPRQO\IRXQGRQSDLQWFDQVDWWKDW

WLPH ZKLFKFRXOGNHHSSDLQWIURPGU\LQJRXWIRU\HDUV 7XSSHUFUHDWHGDQDLU-WLJKWOHDN-SURRI




                                                      
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OLGWKDWFRXOGEHVHDOHGE\SUHVVLQJLWWR³EXUS´RXWWKHDLU OHDGLQJWRWKHPRQLNHU³EXUSLQJ´VHDO .

7XSSHU XWLOL]HG WKLV VHDO LQ D ERZO—WKH :RQGHU %RZO—ZKLFK EHFDPH WKH FRUQHUVWRQH RI

7XSSHUZDUH DQGLVVWLOOVROGZRUOGZLGHQRZFDOOHGWKH:RQGHUOLHU%RZO ,Q7XSSHU

GHEXWHGWKH:RQGHU%RZODQGWKLUWHHQRWKHUFRPSDQLRQ SURGXFWV.

            7XSSHU¶V IRRG VWRUDJH SURGXFWV Zere an LQYHQWLRQ PDGH IRU WKH PRPHQW

&RQVXPHULVPZDV RQWKHULVHDQG$PHULFDQVZHUHSDUWLFXODUO\ORRNLQJIRUSUDFWLFDOSXUFKDVHV

WKDWZRXOGLPSURYHWKHLUGD\-to-GD\OLYHV UHIULJHUDWRUVEHLQJRQHRIWKHPRVW-SXUFKDVHGLWHPV RI

WKHWLPH). 7XSSHUZDUHRIIHUHGDQDWWUDFWLYHDIIRUGDEOHSURGXFW—soon DYDLODEOHLQ EULJKW FRORUV

QDPHGDIWHUIUXLWVDQGJHPVWRQHV—WKDWZDVKLJKO\IXQFWLRQDO IRUUHGXFLQJIRRGZDVWHZKLFKZDV

DPDMRUILQDQFLDOGUDLQIRUJURZLQJIDPLOLHVLQWKHSRVW-ZDUHUD

            7XSSHU¶VSURGXFWVZHUHDYDLODEOHLQKDUGZDUHDQGGHSDUWPHQWVWRUHVDQGKHHYHQ

RSHQHGDVWRUHIURQWRQth $YHQXH:KLOHXQLPDJLQDEOHQRZWKH:RQGHU%RZOZDVWRRKLJKWHFK

IRUFRQVXPHUVZKRZHUHXVHGWRXVLQJWLQIRLOJODVVMDUVRUFHUDPLFFRQWDLQHUV7XSSHUPDUNHWHG

KLVSODVWLFDOWHUQDWLYHVKHDYLO\, LQFOXGLQJ GLVWULEXWLQJFDWDORJXHVDQG JLYLQJSURGXFWV DZD\ ZLWK

FLJDUHWWHVZLWKOLWWOHVXFFHVV XQWLODVLQJOHPRWKHU IURP'HWURLW FKDQJHGHYHU\WKLQJ.

       B.      The Start of the Tupperware Party.

            %URZQLH:LVH ZDV DGLYRUFpHDQGVLQJOHPRWKHUOLYLQJLQ'HWURLW ZKHQDIULHQG

ZKR KDG FRPH DFURVV 7XSSHUZDUH LQ D KDUGZDUH VWRUH LQWURGXFHG KHU WR WKH SURGXFW LQ 

It WRRNKHUWKUHHGD\VWRILJXUHRXWKRZWRXVHWKH7XSSHUVHDOEXWRQFHVKHJRWWKHKDQJRILWshe

LPPHGLDWHO\VDZWKHSRWHQWLDO

            $WWKHWLPH:LVHZRUNHGIRU6WDQOH\+RPH3URGXFWVZKLFKKDGUHFHQWO\ODXQFKHG

D QHZ VDOHV PRGHO WKDW LQYROYHG KRPH-EDVHG VDOHV GHPRQVWUDWLRQV :LVH ZKR KDG SUHYLRXVO\

ZRUNHGDWDQDGYHUWLVLQJDJHQF\KDGDNQDFNIRUPDUNHWLQJ 3XWWLQJKHURZQVSLQRQWKLQJV:LVH




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HQYLVLRQHGDQHZEXVLQHVVPRGHOEDVHGDURXQG SDUWLHV ³3ROO\-7´SDUWLHVDIWHUWKHQHZSODVWLF

XWLOL]HG LQ 7XSSHUZDUH SURGXFWV .     :LVH UHFHLYHG 7XSSHU¶V SHUPLVVLRQ WR VHOO 7XSSHUZDUH,

UHFUXLWHGDIHZIULHQGVWRZRUNZLWKKHUDQGHPEDUNHGRQKHUQHZEXVLQHVVYHQWXUH

             At D3ROO\-T party QRZNQRZQDVD³7XSSHUZDUH Party”) DKRVWZRXOGSDLUZLWKD

ZHOO-GUHVVHG7XSSHUZDUHGHDOHUZKRZRXOGJLYHDSURGXFWGHPRQVWUDWLRQDQGVHOOSURGXFWVWRDQ\

LQWHUHVWHG JXHVWV  The SDUWLHV ZHUH IXQ DQG LQWHUDFWLYH HYHQWV )DPRXVO\ :LVH ZRXOG ILOO D

:RQGHU%RZOZLWKZDWHU RUHYHQJUDSHMXLFH VKRZWKHJURXSKRZWR³EXUS´WKHOLGDQGWKHQ

toss WKHERZOWRDQDWWHQGHH7KHZRPHQZKRZHUHXVHGWRFRQWDLQHUVWKDWZRXOGVKDWWHUDQG

VSLOOPDUYHOHGthat not a VLQJOHGURSHVFDSHG WKURXJKWKH7XSSHUVHDO. :LVHDQGKHUWHDPTXLFNO\

RXWVROG UHWDLO stores DQG 7XSSHU¶V RWKHU LQGHSHQGHQW GLVWULEXWRUV  ,Q  7XSSHU SXOOHG KLV

SURGXFWVIURPVWRUHVDQGKLUHG:LVHWRVHUYHDVKLVKHDGRIPDUNHWLQJDQGYLFHSUHVLGHQWRIWKH

&RPSDQ\, DSRVLWLRQXQKHDUGRIIRUDZRPDQDWWKH WLPH.

             :LVH¶VDSSURDFK—OLNH7XSSHU¶VSURGXFW—ZDVSHUIHFWIRUWKHPRPHQW:RPHQ

ZKRKDGKHOGMREVGXULQJWKHZDUZHUHEDFNDWKRPHDQGLQPDQ\FDVHVORQJLQJIRUPRUH:LVH

HQFRXUDJHGWKHVHZRPHQWREHOLHYHLQWKHPVHOYHVDQGGUHDPELJDQGto represent ERWKWKHPVHOYHV

DQGWKH&RPSDQ\¶VSURGXFWVZLWKFRQILGHQFH$WWKHVDPHWLPHFRQVXPHUVZHUHORRNLQJWRVSHQG

EXWQRWRSXOHQWO\DQGKRPHPDNLQJZDVDSULRULW\DVWKHSRVW-ZDUEDE\ERRPEHJDQ7XSSHUZDUH

PDUWLHV RIIHUHG WKH SHUIHFW RSSRUWXQLW\WRVRFLDOL]H DQGHDUQVXSSOHPHQWDOLQFRPHDOO IURP WKH

FRPIRUWRI RQH¶V KRPH, ZLWKRXWWKUHDWHQLQJthe HVWDEOLVKHGIDPLO\RUGHU.

             )DPRXVIRUVD\LQJ³,IZHEXLOGWKHSHRSOHWKH\¶OOEXLOGWKHEXVLQHVV´:LVHQRW

RQO\HPSRZHUHGZRPHQ; VKHDOVRLQFHQWLYL]HGWKHP:LVH LQWURGXFHGWKHFRQFHSWRI³-XELOHHV´

ZKLFK ZHUH ODYLVK DQQXDO FHOHEUDWLRQV GHVLJQHG WR UHZDUG WRS VHOOHUV ZLWK UHFRJQLWLRQ

HQWHUWDLQPHQWDQGSUL]HV 7KHVHHYHQWVZHUHXQSUHFHGHQWHGDWWKHWLPHDQGIRVWHUHG DVWURQJVHQVH




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RIFRPPXQLW\DQGOR\DOW\DPRQJWKHVDOHVIRUFH :LVH¶VDSSURDFKWXUQHGWKH&RPSDQ\LQWRDQ

HPSLUHDQGLQVKHEHFDPHWKHILUVWZRPDQWREHIHDWXUHGRQWKHFRYHURIBusiness Week.

II.     Mergers, Acquisitions, and Expansion.

             %HWZHHQ  DQG  WKH &RPSDQ\ ZDV WKH VXEMHFW RI VHYHUDO PDMRU

WUDQVDFWLRQVLQFOXGLQJ a) a 1VDOHWR5H[DOO'UXJ&RPSDQ\ ODWHUUHQDPHGWR'DUW,QGXVWULHV

,QF “Dart”); b) D  PHUJer ZLWK .UDIW ,QF ³.UDIW”) RQH RI WKH ODUJHVW 86 PHUJHUV LQ

KLVWRU\ DW WKDW WLPH) IRUPLQJ 'DUW  .UDIW ,QF ³'DUW  .UDIW”); F) a  GH-PHUJLQJ IURP

.UDIW; DQG G) DVSLQRIIIURPLWVSRVW-'DUW .UDIWSDUHQWFRPSDQ\ 3UHPDUN,QWHUQDWLRQDO

,QF  UHVXOWLQJ LQ WKH 7XSSHUZDUH &RUSRUDWLRQ  ,Q WKLV SHULRG WKH &RPSDQ\ DOVR VLJQLILFDQWO\

H[SDQGHGLWVRSHUDWLRQDOIRRWSULQW, HVWDEOLVKLQJDSUHVHQFHLQGR]HQVRIQHZFRXQWULHVRQPXOWLSOH

FRQWLQHQWV.

             0RYLQJ LQWR WKH V WKH &RPSDQ\ GLYHUVLILHG LQWR EHDXW\ DQG SHUVRQDO FDUH

EUDQGV E\ DFTXLULQJ FRPSDQLHV OLNH %HDXWL&RQWURO D EHDXW\ FRPSDQ\ VSHFLDOL]LQJ LQ VSD

WUHDWPHQWV DQGGLUHFW-VHOOLQJEUDQGVOLNH$YUR\6KODLQ)XOOHU&RVPHWLFV1DWXU&DUH1XWULPHWLFV,

DQG1XYRIURPWKH 6DUD/HH&RUSRUDWLRQ7KHEUDQGFRQWLQXHGWRDFFXPXODWHDFFRODGHVLQFOXGLQJ

EHLQJQDPHGRQHRI)RUWXQH0DJD]LQH¶V³:RUOG¶V0RVW$GPLUHG&RPSDQLHV´LQ%\

7XSSHUZDUHEUDQGVZHUHVROGLQRYHUFRXQWULHVWKH6DOHV)RUFHFRQVLVWHGRIDSSUR[LPDWHO\

 PLOOLRQ,QGHSHQGHQW&RQVXOWDQWVDQHVWLPDWHGRI$PHULFDQKRPHVRZQHGDWOHDVWRQH

7XSSHUZDUHSURGXFWDQGWKH&RPSDQ\KHOGRYHUSURGXFWSDWHQWV.

             *UDGXDOO\ KRZHYHU 7XSSHUZDUHEHJDQILQGLQJ LWVHOI³ODWHWRWKHSDUW\´ ZKHQLW

FDPH WR PRGHUQ FRQVXPHUV  &RQVXPHUV SULPDULO\ SXUFKDVH KRPHZDUHV HLWKHU LQ VWRUHV

DSSUR[LPDWHO\   RU RQOLQH DSSUR[LPDWHO\   ZKHUH 7XSSHUZDUH¶V SURGXFWV ZHUH

KLVWRULFDOO\QRWDYDLODEOH:KLOH7XSSHUZDUHPDLQWDLQVDZHEVLWHHYHQWRGD\WKDWZHEVLWHRQO\




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LQFOXGHV  RI 7XSSHUZDUH¶V SURGXFWV DQG WKH  WKDW DUH PLVVLQJ LQFOXGH VRPH RI

7XSSHUZDUH¶V PRVW EHORYHG SURGXFWV  7KH &RPSDQ\ KDV DOVR VWUXJJOHG WR PDNH LWV SURGXFWV

FRQVLVWHQWO\DYDLODEOHRQOLQHDQGIRUWKH6DOHV)RUFHDQGWKHWHFKQRORJ\VXSSRUWLQJWKH6DOHV)RUFH

LVDVWHSEHKLQGWKDWRIWKH&RPSDQ\¶VFRPSHWLWRUVUHVXOWLQJLQIXUWKHUIUXVWUDWLRQVDQG6DOHV)RUFH

GHWHULRUDWLRQ.

              $VGHVFULEHGLQJUHDWHUGHWDLOEHORZWKH&RPSDQ\GHYHORSHGDUHYLWDOL]DWLRQSODQ

IRU WKH EXVLQHVV LQ WKH IDFH RI WKHVH FKDOOHQJHV—LQFOXGLQJ D IRFXV RQ VDOHV FKDQQHO

PRGHUQL]DWLRQ—EXWVWDUWHG IURPEHKLQGSDUWLFXODUO\VWUHVVHGXQGHUWKHZHLJKWRIWKH&RPSDQ\¶V

H[LVWLQJFDSLWDOVWUXFWXUH

                                       Section 2: Current Operations

I.      Operations Overview.

              1RWZLWKVWDQGLQJ LWV FKDOOHQJHV, 7XSSHUZDUH UHPDLQV D OHDGHU LQ WKH JOREDO IRRG

VWRUDJH PDUNHW DQG RQH RI WKH PRVW WUXVWHG EUDQGV LQ $PHULFD 2    7KH &RPSDQ\ HPSOR\V

 HPSOR\HHVDFURVV41 FRXQWULHV DQGKDVD6DOHV)RUFHRIRYHU4DFWLYH,QGHSHQGHQW

&RQVXOWDQWVZRUOGZLGHZKRVHOOWRFRQVXPHUVLQFRXQWULHV.

              7KH&RPSDQ\ GHVLJQVPDQXIDFWXUHVDQGGLVWULEXWHVLWVRZQSURGXFWVLQDGGLWLRQ

WRRIIHULQJEUDQGLQJRSSRUWXQLWLHVWRWKLUGSDUWLHV7RVXSSRUWLWVJOREDOQHWZRUNWKH&RPSDQ\

RSHUDWHV QLQH PDQXIDFWXULQJ SODQtV FRQWUDFWLQJ ZLWK WKUHH RWKHUV  DQG IRUW\-VL[ GLVWULEXWLRQ

FHQWHUVDURXQGWKHJOREHDVGHSLFWHGRQWKHIROORZLQJPDS.




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     Wow! Tupperware Popped Up on Newsweek’s Most Trustworthy Companies in America, Apr.  
     KWWSVZZZSUQHZVZLUHFRPQHZV-UHOHDVHVZRZ-WXSSHUZDUH-SRSSHG-XS-on-QHZVZHHNV-PRVW-WUXVWZRUWK\-
     FRPSDQLHV-LQ-DPHULFD-KWPO



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Tupperware has 9 plants, 3 contract plants, and 46 distribution centers around the globe to serve customers across 70 countries.

II.       Sales Channels.

                 $V GHVFULEHG EHORZ WKH &RPSDQ\ FXUUHQWO\ H[HFXWHV VDOHV WKURXJK D YDULHW\ RI

GLIIHUHQWPHWKRGVZLWKWKHPRVWSUHYDOHQWEHLQJGLUHFWVDOHVWKURXJKWKH6DOHV)RUFH

          A.        The Company’s Direct Sales Channels.

                 7RGD\, tKH &RPSDQ\ VWLOO SULPDULO\ XVHV D GLUHFW-VHOOLQJ EXVLQHVV PRGHO WR

GLVWULEXWHDQGPDUNHWLWVSURGXFWVWKURXJKSHUVRQDOFRQQHFWLRQV DQG SURGXFWGHPRQVWUDWLRQVZLWK

GLUHFW VDOHV DFFRXQWLQJ IRU QHDUO\  RI WKH &RPSDQ\¶V VDOHV LQ  7KH HQJLQH RI WKH

GLUHFW-VDOHV PRGHO LV WKH 6DOHV )RUFH ZKLFK FRQVLVWV RI DSSUR[LPDWHO\ 4 ,QGHSHQGHQW

&RQVXOWDQWV7KH,QGHSHQGHQW&RQVXOWDQWVZKRFRPSULVHWKHSDOHV)RUFHYROXQWDULO\SDUWQHUZLWK

WKH &RPSDQ\ WR VHOO LWV SURGXFWV LQ H[FKDQJH IRU VDOHV-EDVHG FRPPLVVLRQV DQG LQFHQWLYHV

The H[DFW FRPPLVVLRQV SDLG WR DQ ,QGHSHQGHQW &RQVXOWDQW GHSHQG XSRQ WKH ,QGHSHQGHQW

&RQVXOWDQW¶VUROHDQGWKHPDUNHWLQZKLFKWKH,QGHSHQGHQW&RQVXOWDQWRSHUDWHV.

          41.       *HQHUDOO\LQWKH8QLWHG6WDWHV ZKHUHPRVWRIWKH'HEWRUV¶6DOHV)RUFHRSHUDWHV 

,QGHSHQGHQW &RQVXOWDQWV UHFHLYH DW OHDVW  RI WKHLU VDOHV SURILWV DV D EDVH FRPPLVVLRQ



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The 'HEWRUV¶6DOHV)RUFHKDVIRXUOHDGHUVKLS OHYHOV a) PDQDJHUV b) GLUHFWRUV F) RUJDQL]DWLRQDO

OHDGHUVDQG G) EXVLQHVVOHDGHUV$V ,QGHSHQGHQW&RQVXOWDQWVDGYDQFHWRKLJKHUOHDGHUVKLSOHYHOV

ZLWKLQ WKH 6DOHV )RUFH WKH\ HDUQ LQFUHPHQWDO FRPPLVVLRQV EDVHG RQ WKH VDOHV RI WKHLU WHDP

PHPEHUV7KHVHLQFUHPHQWDOFRPPLVVLRQVUDQJHIURP–RIWKHUHOHYDQWVDOHVGHSHQGLQJ

XSRQ WKH ,QGHSHQGHQW &RQVXOWDQW¶V OHDGHUVKLS OHYHO  ,QGHSHQGHQW &RQVXOWDQWV ZKR EHFRPH

³RUJDQL]DWLRQDOOHDGHUV´DUHHOLJLEOHIRUDGGLWLRQDOLQFUHPHQWDOFRPPLVVLRQVEDVHGRQWKHVDOHV

DWWULEXWDEOHWRWKHLUWHDPPHPEHUVWKDWDFKLHYHWKHOHYHORI³GLUHFWRU´

        42.     ,QDGGLWLRQWRWKHFRPPLVVLRQVWKH'HEWRUVKDYHRIIHUHG DYDULHW\RILQFHQWLYHVWR

,QGHSHQGHQW &RQVXOWDQWV WR HQFRXUDJH WKHP WR SDUWQHU ZLWK WKH 'HEWRUV DQG WR GULYH LQFUHDVHG

6DOHV )RUFH VDOHV  )RU H[DPSOH HDFK VWHS XS ZLWKLQ WKH ,QGHSHQGHQW &RQVXOWDQW OHDGHUVKLS

KLHUDUFK\UHVXOWVLQDRQH-WLPHVWHS-XSERQXVZRUWKEHWZHHQDQG$GGLWLRQDOO\WKH

'HEWRUVRIIHUUHFRJQLWLRQWRPHPEHUVRIWKH6DOHV)RUFHEDVHGRQWKHLUPRQWKO\XQLWVDOHVZKLFK

UHFRJQLWLRQLVDFFRPSDQLHGE\DFDVKSD\PHQWEDVHGRQWKHVDOHVWKUHVKROGDFKLHYHG e.g.

LQPRQWKO\VDOHVUHVXOWVLQDFDVKSD\PHQW  &HUWDLQ6DOHV)RUFHLQFHQWLYHSURJUDPVRIIHU

PRUH YDOXDEOH LQFHQWLYHV LQFOXGLQJ UHZDUGV VXFK DV GLVFRXQWV RU VXEVLGLHV RQ FDU RU WUDYHO

SXUFKDVHV GHSHQGHQWXSRQDFKLHYHPHQWRIFRQVLVWHQWVDOHVRXWFRPHV WRHQVXUHDOLJQPHQWZLWK

&RPSDQ\SHUIRUPDQFHJRDOV

             ,QUHFHQW\HDUV7XSSHUZDUH¶VRSHUDWLRQDOFKDOOHQJHVKDYHVWUDLQHGWKH6DOHV)RUFH

UHVXOWLQJLQWKHGHSDUWXUHRIDVLJQLILFDQWQXPEHURI,QGHSHQGHQW&RQVXOWDQts. ,QWKHIDFHRIWKHVH

FKDOOHQJHV7XSSHUZDUHKDVSURYLGHGLWV6DOHV)RUFHZLWKGLJLWDOWRROVWRFRQQHFWZLWKFRQVXPHUV

WKURXJKVRFLDOPHGLDDQGSHUVRQDOL]HGZHESDJHVRIIHUHGGLJLWDOWUDLQLQJDQGYLUWXDOPHHWLQJVIRU

6DOHV )RUFH GHYHORSPHQW DQG PDLQWDLQHG GLUHFW VDOHV ZHEVLWHV IRU ,QGHSHQGHQW &RQVXOWDQWV LQ

VHYHUDOFRXQWULHV LQFOXGLQJWKH8QLWHG6WDWHV 




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        B.      The Company’s Other Distribution Channels.

        44.     In VWDUN FRQWUDVW WR WKHHDUO\GD\VRIWKH&RPSDQ\QHDUO\HYHU\RQHQRZ NQRZV

ZKDW7XSSHUZDUHLVEXWIHZHUSHRSOHNQRZZKHUHWRILQGLW7RUHPHG\WKLVDQGUHQHZLQWHUHVW

LQWKHEUDQGWKH&RPSDQ\KDVH[SDQGHGLWVRQOLQHDQGUHWDLOSUHVHQFHLQUHFHQW\HDUVDQGLQGHHG

WKHVHHIIRUWVKDYHEHHQDFULWLFDOFRPSRQHQWRIWKH&RPSDQ\¶VWXUQDURXQGHIIRUWV

             Amazon,Q-XQHRI7XSSHUZDUHRSHQHGDGLJLWDOVWRUHIURQWRQ$PD]RQFRP

ZKLFKRIIHUHGWKLUW\GLIIHUHQW7XSSHUZDUHSURGXFWV³7XSSHUZDUH´LVDIUHTXHQWO\VHDUFKHGWHUP

RQ$PD]RQ ZLWKDSSUR[LPDWHO\VHDUFKHVDPRQWK EXWRQHRIWKH&RPSDQ\¶VFXUUent

FKDOOHQJHV LV WKDW WKH VHDUFK UHVXOWVIRU³7XSSHUZDUH´SUHVHQWO\UHWXUQUHVXOWVIRURWKHUEUDQGV

XQGHUFXWWLQJ WKH &RPSDQ\¶V VWUDWHJLF SXUSRVH IRU VHOOLQJ RQ $PD]RQ  $ NH\ SLOODU RI WKH

WXUQDURXQGSODQLVWRLQFUHDVHWKH&RPSDQ\¶VIRFXVRQPDUNHWLQJDQGDGYHUWLVLQJWRFDSWXUHWKLV

H[LVWLQJGHPDQGDQGWRJHQHUDWHIXUWKHUVDOHV.

             Target,Q2FWREHU7XSSHUZDUHVXFFHVVIXOO\ODXQFKHGLQ7DUJHWVWRUHV DQG

RQ7DUJHWFRP 7KH ODXQFK—ZKLFKZDVOLPLWHGWRFODVVLFIRRGVWRUDJHFRQWDLQHUV—H[FHHGHG

H[SHFWDWLRQVDQGSDYHVWKHZD\IRUIXWXUHVWUDWHJLFUHWDLOH[SDQVLRQ.

             International Store Fronts  ,Q FHUWDLQ PDUNHWV PRVW SUHGRPLQDQWO\ LQ &KLQD

6DOHV )RUFH PHPEHUV RSHUDWH LQGHSHQGHQW UHWDLO VWRUHV DQG VWXGLRV  7KHVH SK\VLFDO ORFDWLRQV

SURYLGH DQ HQWUHSUHQHXULDO RSSRUWXQLW\ IRU LQGHSHQGHQW RZQHUV WR FRQQHFW ZLWK FRQVXPHUV WR

GHPRQVWUDWHDQGVHOOSURGXFWVZKLOHDOVRFUHDWLQJYLVLELOLW\DQGUHLQIRUFLQJ7XSSHUZDUH¶VLFRQLF

LPDJHZLWKFRQVXPHUV.

             Pop-Up Stores. Pop-XS VWRUHV SURPRWH EUDQG DZDUHQHVV ZLWKRXW WKH ULVNV DQG

EXUGHQVRIDSHUPDQHQWUHWDLOIRRWSULQW. ,Q0DUFK WKH&RPSDQ\ODXQFKHGRQHRILWVPRVW

DPELWLRXV³SRSXSV´DOLPLWHG-WLPHH[SHULHQFHLQ1HZ<RUN&LW\IHDWXULQJVRFLDO-PHGLDZRUWK\




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EULJKWFRORUVDQGFOHDQOLQHVWRRIIHUDQLQYLWLQJPRGHUQVSDFHIRUOLYHGHPRQVWUDWLRQVRIFODVVLF

SURGXFWV

             Macy’s  ,Q -XQH  7XSSHUZDUH ODXQFKHG LQ 0DF\¶V VWRUHV ZLWK LQ-store

³7XSSHUZDUH3DUWLHV´KRVWHGE\,QGHSHQGHQW&RQVXOWDQWVWRPDUNWKHODXQFK

             ,QWRWDOWKH&RPSDQ\KDVDSSUR[LPDWHO\ UHWDLOFXVWRPHUVDURXQGWKHZRUOG

DQGQRZKDVPXOWL-FKDQQHODFWLYLW\LQ RILWVPDUNHWV

III.    The Product—Current Offerings.

             7XSSHUZDUHSURGXFWVDUHDPDVWHUIXOEOHQGRIIRUPDQGIXQFWLRQ5HFRJQL]HGWKH

ZRUOGRYHUIRUERWKIXQFWLRQDOLW\DQGVW\OH7XSSHUZDUHSURGXFWVVDWLVI\WKHSUDFWLFDOGHPDQGVRI

WKHFXVWRPHUDVZHOODVWKHGHVLJQVWDQGDUGVRIVRPHRIWKHZRUOG¶VPRVWLPSRUWDQWGHVLJQFHQWHUV

DQGDUWPXVHXPV7XSSHUZDUH¶VFXUUHQWSURGXFWOLQHs DUHHDFKGHVFULEHGLQWXUQEHORZ.

             Kitchen Tools7XSSHUZDUHIRRGSUHSDUDWLRQRIIHULQJVLQFOXGHWKH&KRS ‘N Prep

&KHI DPDQXDOIRRGSURFHVVRUWKDWDOORZVWKHXVHUWRFKRSYHJHWDEOHVIUXLWVDQGQXWVTXLFNO\DQG

HIILFLHQWO\  WKH 0DQGROLQH 6OLFHU D YHUVDWLOH NLWFKHQ WRRO WKDW KHOSV LQ XQLIRUPO\ VOLFLQJ DQG

JUDWLQJ IUXLWV DQG YHJHWDEOHV  PL[LQJ ERZOV ZKLFK FRPH ZLWK DLUWLJKW OLGV DQG DUH XVHIXO IRU

PL[LQJLQJUHGLHQWVPDULQDWLQJDQGHYHQVWRULQJOHIWRYHUV DQGNLWFKHQVWDSOHVOLNHFXWWLQJERDUGV

NQLYHVVSDWXODVDQGODGOHV.

             Cookware & Bakeware7XSSHUZDUH¶V FRRNZDUH DQGEDNHZDUHRIIHULQJVLQFOXGH

VLOLFRQHPROGVDQGEDNLQJVKHHWVPHWDOVWRYH-WRSFRRNZDUHDQGHYHQRYHQ-VDIHSODVWLFFRRNZDUH

ZKLFK SURYLGHV D OLJKWHU RSWLRQ IRU FKHIV ZKR PD\ VWUXJJOH ZLWK KHDYLHU DOWHUQDWLYHV

7XSSHUZDUH¶VFRRN- DQGEDNHZDUHLVH[SHUWO\GHVLJQHGDQGLQFOXGHVLQQRYDWLRQVWKDWJLYHLWDQ

HGJHRYHUULYDOSURGXFWV)RUH[DPSOH7XSSHUZDUH¶VVLOLFRQHEDNHVKHHWVDUHSUH-PDUNHGWRKHOS

SHUIHFWO\SRUWLRQEDNHG JRRGVDQGDOVRIHDWXUHULPVWRPLQLPL]HPHVVHV.




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             Serveware. 7XSSHUZDUH¶VVHUYHZDUHRIIHULQJVLQFOXGHVHUYLQJWUD\VERZOVDQG

SLWFKHUVWKDWDUHGHVLJQHGWREHERWKIXQFWLRQDODQGDWWUDFWLYHIRUWDEOHSUHVHQWDWLRQ$GGLWLRQDO

VHUYLQJVROXWLRQRIIHULQJVLQFOXGHPLFURZDYHrHKHDWDEOHpURGXFWVWKDWDUHGHVLJQHGWRJRIURPWKH

UHIULJHUDWRUWRWKHPLFURZDYHPDNLQJLWHDV\WRUHKHDWDQGVHUYHIRRG.

             Food Storage. )RRGVWRUDJHLV7XSSHUZDUH¶VFRUHRIIHULQJ3URGXFWVLQWKH)RRG

6WRUDJHFDWHJRU\LQFOXGH0RGXODU 0DWHV DLUWLJKWFRQWDLQHUVWKDWFRPHLQYDULRXVVKDSHVDQGVL]HV

GHVLJQHGWRRSWLPL]HVSDFHLQWKHSDQWU\RUUHIULJHUDWRUZKLFKDUHLGHDOIRUVWRULQJGU\JRRGVOLNH

FHUHDOVIORXUVXJDUDQGSDVWD )ULGJH6PDUW&RQWDLQHUV FRQWDLQHUVVSHFLILFDOO\GHVLJQHGWRNHHS

IUXLWV DQG YHJHWDEOHV IUHVK IRU ORQJHU SHULRGV WKDW IHDWXUH YHQWLQJ V\VWHPV WR UHJXODWH DLUIORZ

ZKLFK KHOSV LQ PDLQWDLQLQJ WKH ULJKW HQYLURQPHQW IRU GLIIHUHQW W\SHV RI SURGXFH  DQG )UHH]HU

0DWHV FRQWDLQHUVGHVLJQHGWRZLWKVWDQGORZWHPSHUDWXUHVPDNLQJWKHPSHUIHFWIRUIUHH]LQJIRRG .

             On-the-Go  7XSSHUZDUH RIIHUV DQ DUUD\ RI SURGXFWV IRFXVHG RQ PRELOH VWRUDJH

VROXWLRQV LQFOXGLQJ OXQFK ER[HV FRQWDLQLQJ PXOWLSOH FRPSDUWPHQWV DQG LQVXODWHG EDJV WR NHHS

IRRGDWWKHGHVLUHGWHPSHUDWXUHDQGZDWHUERWWOHVIHDWXULQJ7XSSHUZDUH¶VOHDN-SURRIVHDO.

             Kids and Toys  7XSSHUZDUH RIIHUV WR\V DQG VSHFLDOW\ SURGXFWV IRU LWV \RXQJHU

FXVWRPHUV—7XSSHU.LGV  ,Q WKH ³NLGV DQG WR\V´ FDWHJRU\ FDUHJLYHUV FDQ ILQG DPRQJ RWKHU

WKLQJVVFKRRO-RULHQWHGVWRUDJHVROXWLRQVIRUWKHLU\RXQJDQGWKH\RXQJ RU\RXQJDWKHDUW FDQ

SXUFKDVHEUDQGHGSURGXFWVIHDWXULQJWKHLUIDYRULWHFKDUDFWHUV.

             1HDUO\HYHU\7XSSHUZDUHSURGXFWVROG LVEDFNHGE\DZDUUDQW\DVDWHVWDPHQWWR

WKH &RPSDQ\¶V FRQILGHQFH LQ LWV SURGXFW TXDOLW\ DQG LWV GHGLFDWLRQ WR FXVWRPHU VDWLVIDFWLRQ

The DSSOLFDELOLW\RIDJLYHQZDUUDQW\ RUZDUUDQWLHV GHSHQGVRQWKHVSHFLILFJRRGSXUFKDVHG

        x       Limited Lifetime Warranty. 7XSSHUZDUH SURYLGHV D /LPLWHG /LIHWLPH
                :DUUDQW\ IRU PRVW RI LWV SURGXFWV  3URGXFWV WKDW DUH QRW FRYHUHG E\ WKH
                /LPLWHG/LIHWLPH:DUUDQW\DUH QRWHGZLWKDQH[FHSWLRQLQWKHDSSOLFDEOH
                FDWDORJSURGXFWOLWHUDWXUHRUSURGXFWGHVFULSWLRQ)RUSURGXFWVVXEMHFWWR



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               WKH/LPLWHG/LIHWLPH:DUUDQW\WKH&RPSDQ\ZDUUDQWVWKDWWKHSURGXFWZLOO
               QRWFKLSFUDFNEUHDNSHHORUZDUSXQGHUQRUPDOQRQ-FRPPHUFLDOXVHV
               IRUWKHOLIHWLPHRIWKHSURGXFW.

       x       Time-Based Quality Warranty. )RULWHPVWKDWGRQRWIDOOXQGHUWKH/LPLWHG
               /LIHWLPH :DUUDQW\ WKH &RPSDQ\ ZLOO JHQHUDOO\ ZDUUDQW WKDW WKH VXEMHFW
               SURGXFWLVIUHHRIPDQXIDFWXULQJGHIHFWVIRUHLWKHUGD\VRURQH\HDUIURP
               WKHGDWHRISXUFKDVHXQGHUQRUPDOQRQ-FRPPHUFLDOXVHVGHSHQGLQJXSRQ
               WKHSDUWLFXODUSURGXFWSXUFKDVHG.

       x       The Premium Product Warranty. 6HOHFW SURGXFWV HQXPHUDWHG LQ WKH
               3UHPLXP 3URGXFW :DUUDQW\—JHQHUDOO\ LQ WKH FRRNZDUH RU NLWFKHQ WRRO
               FDWHJRU\—DUH VXEMHFW WR WKH 3UHPLXP 3URGXFW :DUUDQW\  )RU VXFK
               SURGXFWVWKH&RPSDQ\ZDUUDQWVWKDWWKHVXEMHFWSURGXFW LVIUHHIURPGHIHFWV
               LQPDWHULDORUZRUNPDQVKLSIRUWKHOLIHWLPHRIWKHSURGXFWZKHQXVHGXQGHU
               QRUPDOQRQ-FRPPHUFLDOXVHVXEMHFWWRHQXPHUDWHGH[FOXVLRQV ZKLFKYDU\
               E\SURGXFW .

       x       ,QOLPLWHGFLUFXPVWDQFHVQRSURGXFWZDUUDQW\LVRIIHUHGDQGDSURGXFWLV
               VROGDV-LV

            In WKHHYHQWRIDSURGXFW¶VIDLOXUHWRPHHWWKHDSSOLFDEOHZDUUDQW\WKH&RPSDQ\

ZLOOHLWKHUUHSODFHWKHDIIHFWHGSURGXFWZLWKDOLNHRUVLPLODUSURGXFWRUFRQWULEXWHWRZDUGIXWXUH

SXUFKDVHVRI7XSSHUZDUH-EUDQGSURGXFWVYLDDPHUFKDQGLVHFUHGLW7KH&RPSDQ\¶VZDUUDQWLHV

SURYLGHSHDFHRIPLQGWRFRQVXPHUVDOORZLQJWKHPWRIHHOFRQILGHQWDERXWWKHLUSXUFKDVH.

   Section 3: Tupperware’s Organizational Structure and Prepetition Capital Structure

            $ FRPSUHKHQVLYH RUJDQL]DWLRQDO FKDUW GHSLFWLQJ WKH &RPSDQ\¶V HQWLUH FRUSRUDWH

VWUXFWXUH LV DWWDFKHG hereto as Exhibit D  (DFK 'HEWRU LV D GLUHFW RU LQGLUHFW ZKROO\-RZQHG

VXEVLGLDU\RI'HEWRU7XSSHUZDUH%UDQGV&RUSRUDWLRQ,QRUGHUWRPLQLPL]HEXVLQHVVGLVUXSWLRQ




                                                  
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7XSSHUZDUH¶V IRUHLJQ RSHUDWLQJ VXEVLGLDULHV                     RWKHU WKDQ Debtor 7XSSHUZDUH 3URGXFWV

$* ³73$*”)) GLGQRWFRPPHQFH Fhapter 11 Fases. 

                7KH      'HEWRUV        KDYH       DSSUR[LPDWHO\           PLOOLRQ          LQFOXVLYH       RI

DSSUR[LPDWHO\ €1 PLOOLRQ LQERUURZLQJVGHQRPLQDWHGLQ(XURV) LQWRWDOIXQGHGGHEWREOLJDWLRQV

7KH IROORZLQJ WDEOH GHSLFWV WKH 'HEWRUV¶ SUHSHWLWLRQ FDSLWDO VWUXFWXUH H[FOXVLYH RI DFFUXHG EXW

XQSDLGFDVKLQWHUHVWDQG IHHV

          Debt Instrument                              Maturity        Outstanding Amount (Approx.)
                                                                                    PLOOLRQ
     5HYROYLQJ&UHGLW)DFLOLW\                     -XO\
                                                                          PLOOLRQOHWWHUVRIFUHGLW 4
     86'7HUP$/RDQ)DFLOLW\                      -XO\                  . PLOOLRQ
     86'7HUP&/RDQ)DFLOLW\                      -XO\                   PLOOLRQ
     (857HUP'/RDQ)DFLOLW\                      -XO\                   €1 PLOOLRQ
         %ULGJH)DFLOLW\                        6HSWHPEHU                  PLOOLRQ5
            Total Funded Debt:                                $811.8 million (inclusive of €196 million)

I.       The Credit Agreement.

                &HUWDLQ RI WKH 'HEWRUV DUH party WR WKDW FHUWDLQ FUHGLW DJUHHPHQW GDWHG DV RI

1RYHPEHU DVDPHQGHGUHVWDWHGVXSSOHPHQWHGRURWKHUZLVHPRGLILHGIURPWLPHWRWLPH

the “&UHGLW $JUHHPHQW”),  E\ DQG DPRQJ 7XSSHUZDUH %UDQGV &RUSRUDWLRQ WKH ³Parent



     $V GHVFULEHG IXUWKHU KHUHLQ LQ FRQMXQFWLRQ ZLWK WKH 'HEWRUV¶ FKDSWHU  FDVHV 73$* LV DOVR FRPPHQFLQJ D
     SDUDOOHOPRUDWRULXPSURFHHGLQJLQ6ZLW]HUODQG

4
     )LJXUHUHIOHFWVRXWVWDQGLQJOHWWHUVRIFUHGLW, ZKLFKUHGXFHDYDLODELOLW\RIWKH5HYROYLQJ&UHGLW)DFLOLW\ EXWGRQRW
     FU\VWDOL]HDVOLDELOLWLHVXQOHVVGUDZQ.


     ([FOXGLQJPLOOLRQRIXQDPRUWL]HGLVVXDQFHFRVWV


     To GDWHDVGLVFXVVHGinfra6HFWLRQWKH&UHGLW$JUHHPHQWKDVEHHQDPHQGHGRURWKHUZLVHDIIHFWHGE\WKDW
     FHUWDLQ)LUVW$PHQGPHQWWR&UHGLW$JUHHPHQWGDWHGDVRI$XJXVWWKDWFHUWDLQ6HFRQG$PHQGPHQWWR
     &UHGLW$JUHHPHQWGDWHGDVRI'HFHPEHU WKDWFHUWDLQ7KLUG$PHQGPHQWWR&UHGLW$JUHHPHQWGDWHGDV
     RI)HEUXDU\WKDWFHUWDLQ)RXUWK $PHQGPHQWWR&UHGLW$JUHHPHQWDQG/LPLWHG:DLYHURI%RUURZLQJ
     &RQGLWLRQVGDWHGDVRI0D\WKDWFHUWDLQ'HEW5HVWUXFWXULQJ$JUHHPHQWGDWHGDVRI$XJXVWWKDW
     FHUWDLQ )LIWK $PHQGPHQW WR&UHGLW $JUHHPHQW GDWHG DV RI 2FWREHU   WKDW FHUWDLQ 6L[WK $PHQGPHQW WR
     &UHGLW$JUHHPHQWGDWHGDVRI'HFHPEHU WKDWFHUWDLQ)RUEHDUDQFH$JUHHPHQWGDWHGDVRI)HEUXDU\
      DVDPHQGHGE\WKH )LUVW$PHQGPHQWWR)RUEHDUDQFH$JUHHPHQWWKH6HFRQG$PHQGPHQWWR)RUEHDUDQFH
     $JUHHPHQW, DQGWKH7KLUG$PHQGPHQWWR)RUEHDUDQFH$JUHHPHQWWKH³)RUEHDUDQFH$JUHHPHQW” WKDWFHUWDLQ



                                                             
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%RUURZHU´  73$* WKH “6ZLVV %RUURZHU´ DQG WRJHWKHU ZLWK WKH 3DUHQW %RUURZHU

the “%RUURZHUV´ WKHOHQGHUVIURPWLPHWRWLPHSDUW\WKHUHWRDQG:HOOV)DUJR%DQN1DWLRQDO

$VVRFLDWLRQ, DVDGPLQLVWUDWLYHDJHQW WKH “&UHGLW$JUHHPHQW$GPLQLVWUDWLYH$JHQW´ 7KH&UHGLW

$JUHHPHQWSURYLGHVIRXUFUHGLWIDFLOLWLHV WKH³&UHGLW)DFLOLWLHV”): D DJOREDOWUDQFKHUHYROYLQJ

FUHGLW IDFLOLW\ WKH “5HYROYLQJ &UHGLW )DFLOLW\´  E  WHUP $ ORDQV GHQRPLQDWHG LQ 86.

GROODUV WKH “86' 7HUP $ /RDQ )DFLOLW\´  F  WHUP & ORDQV GHQRPLQDWHG LQ 86

GROODUV WKH “86'7HUP&/RDQ)DFLOLW\´ DQG G WHUP'ORDQVGHQRPLQDWHGLQHXURV WKH³EUR

7HUP'/RDQ )DFLOLW\”).

             7KH REOLJDWLRQV RI WKH 'HEWRUV XQGHU WKH &UHGLW $JUHHPHQW DUH VHFXUHG E\ ILUVW

SULRULW\OLHQV VXEMHFWWR D WKH%ULGJH)DFLOLW\/LHQV DVGHILQHGEHORZ RQWKH%ULGJH&ROODWHUDO

DVGHILQHGEHORZ DQG E FHUWDLQRWKHUSHUPLWWHGOLHQV RQVXEVWDQWLDOO\DOORIWKHDVVHWVRIWKH

'HEWRUV RWKHUWKDQ73$*ZKLFKKDVRQO\SURYLGHGOLPLWHGFDVKFROODWHUDOLQFRQQHFWLRQZLWK

DQGDVFROODWHUDOVHFXULW\IRUFHUWDLQREOLJDWLRQVRXWVWDQGLQJ XQGHUWKH&UHGLW$JUHHPHQW VXEMHFW

WR H[FOXVLRQV IRU DPRQJ RWKHU WKLQJV FHUWDLQ ([FOXGHG $VVHWV DV GHILQHG LQ WKH &UHGLW

$JUHHPHQW  WKH “&UHGLW $JUHHPHQW &ROODWHUDO´   7KH &UHGLW $JUHHPHQW &ROODWHUDO LV SOHGJHG

SXUVXDQW WR DPRQJ RWKHU WKLQJV  that FHUWDLQ 0DVWHU &ROODWHUDO $JUHHPHQW GDWHG DV RI

1RYHPEHU   DV DPHQGHG UHVWDWHG DPHQGHG DQG UHVWDWHG VXSSOHPHQWHG RU RWKHUZLVH

PRGLILHGIURPWLPHWRWLPHSULRUWRWKHGDWHKHUHRIWKH³0DVWHU&ROODWHUDO$JUHHPHQW´ DPRQJ

WKH3DUHQW%RUURZHU'DUWWKHRWKHUVXEVLGLDU\JUDQWRUV SDUW\WKHUHWRDQGWKH&UHGLW$JUHHPHQW

$GPLQLVWUDWLYH$JHQW  WKDWFHUWDLQ6HFXULW\$JUHHPHQWGDWHGDVRI1RYHPEHUE\DQG



   $PHQGPHQW WR )RUEHDUDQFH $JUHHPHQW GDWHG DV RI -XQH   WKH ³)LUVW $PHQGPHQW WR )RUEHDUDQFH
   $JUHHPHQW´ WKDWFHUWDLQ6HFRQG$PHQGPHQWWR)RUEHDUDQFH$JUHHPHQWGDWHGDVRI-XO\ WKH³6HFRQG
   $PHQGPHQWWR)RUEHDUDQFH$JUHHPHQW´ DQGWKDWFHUWDLQ6HYHQWK$PHQGPHQWWR&UHGLW$JUHHPHQWDQG7KLUG
   $PHQGPHQWWR)RUEHDUDQFH$JUHHPHQWGDWHGDVRI$XJXVW WKH³7KLUG$PHQGPHQWWR)RUEHDUDQFH
   $JUHHPHQW”).



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EHWZHHQ'DUWDQGWKH&UHGLW$JUHHPHQW$GPLQLVWUDWLYH$JHQWDQG  FHUWDLQLQWHOOHFWXDOSURSHUW\

VHFXULW\ DJUHHPHQWV E\ DQG DPRQJ WKH 'HEWRUV SDUW\ WKHUHWR DQG WKH &UHGLW $JUHHPHQW

$GPLQLVWUDWLYH$JHQW.

        A.       The Revolving Credit Facility.

              7KH 5HYROYLQJ &UHGLW )DFLOLW\ SURYLGHV IRU DJJUHJDWH UHYROYLQJ FUHGLW

FRPPLWPHQWVRI PLOOLRQLQFOXVLYHRIDQ\OHWWHUVRIFUHGLWLVVXHGWKHUHXQGHU  $VRIWKHGDWH

KHUHRIWKH3DUHQW%RUURZHUKDVGUDZQ PLOOLRQRQWKH5HYROYLQJ&UHGLW)DFLOLW\DQGKDVEHHQ

LVVXHG OHWWHUV RI FUHGLW LQ WKH DJJUHJDWH DPRXQW RI DSSUR[LPDWHO\  PLOOLRQ VXFK WKDW WKH

'HEWRUVGRQRWKDYHDQ\DYDLODELOLW\XQGHUWKH5HYROYLQJ&UHGLW)DFLOLW\

              $V RI WKH GDWH KHUHRI a  ERUURZLQJV RXWVWDQGLQJ XQGHU WKH 5HYROYLQJ &UHGLW

)DFLOLW\DFFUXHLQWHUHVWDWDSHUDQQXP UDWHHTXDOWRHLWKHU L $GMXVWHG7HUP62)5WKH$GMXVWHG

(XURFXUUHQF\ 5DWH RU 'DLO\ 6LPSOH 621,$ SOXV  SHU DQQXP RU LL) the Base Rate SOXV

 SHUDQQXP SOXVLQHDFKFDVHDQGWRWKHH[WHQWDSSOLFDEOHWKHSHUDQQXPGHIDXOW

LQWHUHVWUDWH  WKH³0DWXULW\,QWHUHVW5DWH´ DQG b OHWWHUVRIFUHGLWRXWVWDQGLQJXQGHUWKH

5HYROYLQJ &UHGLW )DFLOLW\ DFFUXH HDFK RI D SDUWLFLSDWLRQ IHH DW D UDWH SHU DQQXP HTXDO WR WKH

$SSOLFDEOH 0DUJLQ IRU 7HUP 62)5 /RDQV DQG D IURQWLQJ IHH DW D UDWH RI  SHU DQQXP

The XQIXQGHGFRPPLWPHQWVXQGHUWKH5HYROYLQJ&UHGLW)DFLOLW\DFFUXHDFRPPLWPHQWIHHDWDUDWH

RISHUDQQXP7KH5HYROYLQJ&UHGLW)DFLOLW\PDWXUHVRQ-XO\

        B.       The USD Term A Loan Facility.

              7KH86'7HUP$/RDQ)DFLOLW\SURYLGHVWKH3DUHQW%RUURZHUZLWKD PLOOLRQ

WHUP ORDQ WKH “86'7HUP$/RDQV´ $VRIWKHGDWHKHUHRIWKH 86' 7HUP$/RDQ)DFLOLW\

DFFUXHVLQWHUHVWDWDSHUDQQXPUDWHHTXDOWRWKH0DWXULW\,QWHUHVW5DWH7KH86'7HUP$



    7KHILJXUHGHVFULEHGKHUHLQUHIOHFWVWKHFRPPLWPHQWVDVOLPLWHGE\WKH)RUEHDUDQFH$JUHHPHQW



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/RDQ)DFLOLW\PDWXUHVRQ-XO\   7KH86'7HUP$/RDQVDPRUWL]HLQDQDPRXQWHTXDOWR

L  PLOOLRQ RQ WKH ODVW GD\ RI HDFK FDOHQGDU TXDUWHU GXULQJ WKH FDOHQGDU \HDU  DQG

LL PLOOLRQRQWKHODVWGD\RIWKHFDOHQGDUTXDUWHUVHQGLQJ0DUFKDQG-XQH

UHVSHFWLYHO\$VRIWKHGDWHKHUHRIWKH3DUHQW%RUURZHURZHVDQDJJUHJDWHSULQFLSDODPRXQWRI

DSSUR[LPDWHO\ PLOOLRQRQWKH86'7HUP$/RDQ)DFLOLW\

        C.       The USD Term C Loan Facility.

              7KH86'7HUP&/RDQ)DFLOLW\SURYLGHVWKH3DUHQW%RUURZHUZLWKD. PLOOLRQ

WHUP ORDQ WKH “86' 7HUP & /RDQV´   $V RI WKH GDWH KHUHRI WKH 86' 7HUP & /RDQ )DFLOLW\

DFFUXHVLQWHUHVWDWDSHUDQQXPUDWHHTXDOWRWREHSDLGLQNLQGDQGWKXVFDSLWDOL]HGRQDQG

LQFUHDVLQJWKHSULQFLSDOEDODQFHRIWKH86'7HUP&/RDQVHDFKTXDUWHU7KH86'7HUP&/RDQ

)DFLOLW\ PDWXUHV RQ -XO\    7KH 86' 7HUP & /RDQV DPRUWL]H LQ DQ DPRXQW HTXDO WR

 PLOOLRQRQWKHODVWGD\RIWKHFDOHQGDUTXDUWHUHQGLQJ'HFHPEHURQWKHODVWGD\RI

HDFKFDOHQGDUTXDUWHUGXULQJWKHFDOHQGDU\HDUDQGRQWKHODVWGD\RIWKHFDOHQGDUTXDUWHUV

HQGLQJ0DUFKDQG-XQHUHVSHFWLYHO\$VRIWKHGDWHKHUHRIWKH3DUHQW%RUURZHU

RZHV DQ DJJUHJDWH SULQFLSDO DPRXQW RI DSSUR[LPDWHO\  PLOOLRQ XQGHU WKH 86' 7HUP C

/RDQ )DFLOLW\

        D.       The EUR Term D Loan Facility.

              7KH (85 7HUP ' /RDQ )DFLOLW\ SURYLGHV WKH 6ZLVV %RUURZHU ZLWK Dn

DSSUR[LPDWHO\ € PLOOLRQWHUPORDQ WKH³(857HUP'/RDQV´ $VRIWKHGDWHKHUHRIWKH(85

7HUP'/RDQ)DFLOLW\DFFUXHVLQWHUHVWDWDSHUDQQXPUDWHHTXDOWRWREHSDLGLQNLQGDQG

WKXVFDSLWDOL]HGRQDQGLQFUHDVLQJWKHSULQFLSDOEDODQFHRIWKH(857HUP'/RDQVHDFKTXDUWHU

The (857HUP'/RDQ)DFLOLW\PDWXUHVRQ-XO\7KH (857HUP'/RDQVDPRUWL]HLQ

DQDPRXQWHTXDOWR¼ RQWKHODVWGD\RIWKHFDOHQGDUTXDUWHUHQGLQJ'HFHPEHU




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RQWKHODVWGD\RIHDFKFDOHQGDUTXDUWHUGXULQJWKHFDOHQGDU\HDUDQGRQWKHODVWGD\RIWKH

FDOHQGDUTXDUWHUVHQGLQJ0DUFKDQG-XQHUHVSHFWLYHO\$VRIWKHGDWHKHUHRI

WKH6ZLVV%RUURZHURZHVDQDJJUHJDWHSULQFLSDODPRXQWRIDSSUR[LPDWHO\¼ PLOOLRQXQGHUWKH

(857HUP'/RDQ )DFLOLW\

               7KH 6ZLVV %RUURZHU LV RQO\ OLDEOH IRU LWV RZQ ERUURZLQJV XQGHU WKH &UHGLW

$JUHHPHQW,WLVQHLWKHUDJXDUDQWRUQRUMRLQWO\nor VHYHUDOO\OLDEOHLQUHVSHFWRIRWKHUERUURZLQJV

PDGHWRWKH3DUHQW%RUURZHUSXUVXDQWWRWKH&UHGLW$JUHHPHQW+RZHYHUWKHUHLVDOLPLWHGFDVK

SOHGJHRIFHUWDLQRIWKH6ZLVV%RUURZHU¶VEDQNDFFRXQWV 

II.       The Bridge Facility.

               On $XJXVW WKH&RPSDQ\ DQGWKHJXDUDQWRUVXQGHUWKH&UHGLW$JUHHPHQW

DVJXDUDQWRUVHQWHUHGLQWRWKH%ULGJH/RDQ&UHGLW$JUHHPHQW ZLWKWKH$G+RF*URXS, SXUVXDQW

WRZKLFKWKH$G+RF*URXS SURYLGHG PLOOLRQSULQFLSDODPRXQWLQHPHUJHQF\IXQGLQJ KDOIRI

ZKLFKFDPHLQWKHIRUPRIDGHOD\HGGUDZWHUPORDQIXQGHGRQ$XJXVW IROORZLQJWKH

&RPSDQ\¶VERUURZLQJUHTXHVW) WKH “%ULGJe )DFLOLW\”) WREULGJHWKH'HEWRUVWRWKHFRPPHQFHPHQW

RIWKHVHFKDSWHUFDVHV7KH%ULGJH)DFLOLW\SULQFLSDODPRXQWZDVIXQGHGZLWK a RULJLQDO

LVVXH GLVFRXQW QHWWLQJ DSSUR[LPDWHO\  PLOOLRQ RI SURFHHGV  7KH %ULGJH )DFLOLW\ FXUUHQWO\

DFFUXHVLQWHUHVWDWDSHUDQQXPUDWHHTXDOWRDQGPDWXUHVRQ6HSWHPEHU  $VRI

WKHGDWHKHUHRIWKH&RPSDQ\RZHVDQDJJUHJDWHSULQFLSDODPRXQWRIDSSUR[LPDWHO\ PLOOLRQRQ

DFFRXQWRIWKH%ULGJH )DFLOLW\ 2EOLJDWLRQVRIWKH&RPSDQ\XQGHUWKH%ULGJH)DFLOLW\DUHVHFXUHG

E\ILUVWSULRULW\OLHQV WKH³%ULGJH)DFLOLW\/LHQV´ VXEMHFWWRFHUWDLQSHUPLWWHGOLHQVRQFHUWDLQ

LQYHQWRU\RZQHGE\'HEWRU7XSSHUZDUH86,QFDQGDQ\ERRNVDQGUHFRUGVRUSURFHHGVUHODWHG

WKHUHWR WKH “%ULGJH&ROODWHUDO”).



      6XFKDFFRXQWLVPDLQWDLQHGZLWK-30RUJDQ&KDVH%DQNLQWKH8QLWHG.LQJGRP



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III.    Common Stock.

             6KDUHV RI 7XSSHUZDUH %UDQGV &RUSRUDWLRQ¶V &RPPRQ 6WRFN  SDU YDOXH

 WKH “&RPPRQ 6WRFN´ WUDGHRQWKH1HZ<RUN6WRFN([FKDQJHXQGHUWKHV\PERO³783´$VRI

WKHGDWHKHUHRI, VKDUHVRI&RPPRQ6WRFNZHUHLVVXHGDQGRXWVWDQGLQJ

                 Section 4: The Events Leading To These Chapter 11 Filings

I.      Operational Challenges.

             $V GHVFULEHG KHUHLQ 7XSSHUZDUH HQMR\HG GHFDGHV RI JURZWK SURSHOOHG E\

SLRQHHULQJSURGXFWGHYHORSPHQWDQGLWVGLUHFWVHOOLQJEXVLQHVVPRGHOZKLFKZDVLQQRYDWLYHIRU

WKH WLPH  2YHU the years KRZHYHU WKLV JURZWK VORZHG DV IHZHU QHZ PDUNHW RSSRUWXQLWLHV

SUHVHQWHG 3DUWLFXODUO\LQWKHODVWIHZ\HDUVWKH&RPSDQ\KDVIDFHGVHYHUDONH\FKDOOHQJHVWKDW

SXWSUHVVXUHRQWKHEXVLQHVVFDXVLQJUHYHQXHWRGHFOLQHPRUHWKDQ<R<LQWZRFRQVHFXWLYH

\HDUVLQDQG.

             6LQFHWKH&RPSDQ\KDVDFWLYHO\ZRUNHGWRLGHQWLI\WKHVHFKDOOHQJHVDQGWDNH

VWHSV WR RYHUFRPH WKHP EXW OLTXLGLW\ FRQVWUDLQWV—H[DFHUEDWHG E\ ULVLQJ LQWHUHVW UDWHV—KDYH

OLPLWHGWKH&RPSDQ\¶VDELOLW\WRUHVSRQGDVFRPSUHKHQVLYHO\DVWKHFLUFXPVWDQFHVZDUUDQW

             Shifts in Consumer Behavior. &RQVXPHUVKRSSLQJKDELWVHYROYHGZLWKWKHDGYHQW

RIRQOLQHVKRSSLQJDQGLQFUHDVHGUHWDLOFRQYHQLHQFH,QWKHLQGXVWU\RQO\RIKRPHZDUHVDOHV

FRPHIURPGLUHFWVHOOLQJEXWWKH&RPSDQ\GHULYHVQHDUO\RILWVVDOHVWKURXJKWKLVFKDQQHO

7KH&RPSDQ\KDVPDGHHIIRUts to DGDSWLWVEXVLQHVVPRGHO WRWKHFXUUHQWODQGVFDSHDQGGLYHUVLI\

LWVJR-to-PDUNHWDSSURDFKDQGKDVVHHQSRVLWLYHLQLWLDOUHVXOWVEXWVLJQLILFDQWZRUNUHPDLQVWREH

GRQH

             Anti-Plastic Sentiment. 7KH&RPSDQ\ZDVIRXQGHGDURXQGDVROXWLRQWRUHGXFH

IRRG ZDVWH DQG KDV D ORQJVWDQGLQJ FRPPLWPHQW WR VXVWDLQDELOLW\ EXW UHFHQW \HDUV KDYH EHHQ

PDUNHG E\ D JHQHUDO UHVXUJHQFH LQ KHVLWDQF\ UHJDUGLQJ SODVWLFV HVSHFLDOO\ SODVWLFV FRQWDLQLQJ


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%3$V 7KHVHGHYHORSPHQWVKDYHSUHVHQWHGKHDGZLQGVIRUWKH&RPSDQ\ZKLFKKDVKDGWRFORVHO\

PRQLWRUFXVWRPHUVHQWLPHQWFRPEDWPLVFRQFHSWLRQVDERXWLWVSURGXFWVDQGDWWLPHVUHFRQILJXUH

LWVSURGXFWRIIHULQJV7KH&RPSDQ\FRQWLQXHVWRSLRQHHULQVXVWDLQDELOLW\HIIRUWVDQGVLQFH

KDVRIIHUHG³(&2´SURGXFWVPDGHRIFLUFXODUSRO\PHUVZKLFKDUHPDGHWKURXJKDSURFHVVRI

XVLQJ PL[HG VLQJOH-XVH SODVWLF ZDVWH WKDW ZDV GHVWLQHG IRU GLVSRVDO EUHDNLQJ LW GRZQ WR LWV

PROHFXODUOHYHODQGUHFUHDWLQJLWLQWRDKLJK-TXDOLW\IRRGJUDGHSODVWLF7KH&RPSDQ\LVH[SDQGLQJ

LWV (&2 SURGXFW OLQH DQG KDV EHHQ WHVWLQJ QHZ LQQRYDWLRQV LQ WKH VXVWDLQDELOLW\ VSDFH OLNH

ELR-EDVHGPDWHULDODVSDUWRILWV1R7LPHWR:DVWHFRPPLWPHQW

             Marketing Deficiencies  7KH &RPSDQ\ KDV D UREXVW DQG LQQRYDWLYH SURGXFW

SRUWIROLR EXW KLVWRULFDOO\ KDG YHU\ OLPLWHG FRRUGLQDWHG IRUPDO PDUNHWLQJ SDUWLFXODUO\ RQOLQH 

LQVWHDGUHO\LQJRQ,QGHSHQGHQW&RQVXOWDQWVWRPDUNHWWKH&RPSDQ\¶VSURGXFWV,QGLFDWLYHRIWKLV

LVVXHWKH&RPSDQ\¶VWRWDOGLJLWDODGYHUWLVLQJVSHQGZDVKLVWRULFDOO\OHVVWKDQ%\LQWURGXFLQJ

PRUHVWUHDPOLQHGPDUNHWLQJFDPSDLJQVWKH&RPSDQ\FDQEHWWHUOHYHUDJHWKHSRZHURILWVEUDQG

7KH &RPSDQ\ LV XQGHU ZD\ RQ HVWDEOLVKLQJ QHZ LQWHUQDO IXQFWLRQV WR LPSURYH LWV PDUNHWLQJ

DSSURDFK

             Underdeveloped Infrastructure7KH&RPSDQ\LVDJOREDOEUDQGZLWKDSUHVHQFH

LQ  FRXQWULHV  ,Q HVWDEOLVKLQJ LWV JOREDO UHDFK KRZHYHU WKH &RPSDQ\ GLG QRW EXLOG JOREDO

LQIUDVWUXFWXUH DQG KDV RSHUDWHG LQ D GHFHQWUDOL]HG PDQQHU UHVXOWLQJ LQ FRPSOH[LW\ DQG

LQHIILFLHQFLHV DQG DW WLPHs LQFRQVLVWHQW SURGXFW DYDLODELOLW\     7KH &RPSDQ\ LV VLPLODUO\

H[SORULQJZD\VWRDGGUHVVthese RSHUDWLRQDOLQIUDVWUXFWXUHLVVXHV

II.     The Initial Turnaround Plan.

             ,Q HDUO\  WKH &RPSDQ\ UHWDLQHG D QHZ H[HFXWLYH OHDGHUVKLS WHDP DQG

GHYHORSHG ZKROH-EXVLQHVV LQLWLDWLYHV WR SXW 7XSSHUZDUH EDFN RQ WKH ULJKW WUDFN DV PRGLILHG

the “7XUQDURXQG3ODQ´ 7KHLQLWLDO7XUQDURXQG 3ODQFRQVLVWHGRIWKUHHGULYLQJIRFDOSRLQWV:


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               x   Operational Rightsizing for Improved Profitability.              The &RPSDQ\
                   LPSOHPHQWHGSURGXFWDQGVXSSO\FKDLQUH-HQJLQHHULQJPHDVXUHVDQGDGMXVWHG
                   RYHUKHDG H[SHQGLWXUHV UHVXOWLQJ LQ ORZHU FRVW RI JRRGV VROG DQG 6* $
                   H[SHQGLWXUHV.

               x   Accelerated Non-Core Business Divestitures. 7KH&RPSDQ\HPEDUNHGRQD
                   FRPSUHKHQVLYHHYDOXDWLRQRILWVEUDQGSRUWIROLRZKLFKUHVXOWHGLQVLJQLILFDQW
                   GLYHVWLWXUHVLQFOXGLQJWKHVDOHRIDOORIWKHEHDXW\EUDQGVDFTXLUHGLQWKHHDUO\
                   V DQG V—VXFK DV $YUR\ 6KODLQ +RXVH RI )XOOHU 1XWULPHWLFV DQG
                   1XYR—DQGRIFHUWDLQQRQ-FRUHUHDOHVWDWHLQFOXGLQJPDQXIDFWXULQJIDFLOLWLHV
                   LQ+HPLQJZD\1RUWK&DUROLQDDQGLQ ,QGRQHVLD.

               x   Business Model Re-evaluation. The &RPSDQ\IRFXVHGRQLPSURYLQJLWVFRUH
                   GLUHFW VDOHV EXVLQHVV WKURXJK LQWURGXFWLRQ RI GDWD-GULYHQ PDUNHWLQJ
                   FRPPXQLFDWLRQVDQGUHFUXLWPHQWPHWKRGVDQGWKHUROO-RXWRIQHZGLJLWDOWRROV
                   IRUVHOOHUV&RQFXUUHQWO\WKH&RPSDQ\DOVRUHQHZHGIRFXVRQGHYHORSPHQWRI
                   DOWHUQDWLYHFKDQQHOVDQGQRQWUDGLWLRQDOEXVLQHVV RSSRUWXQLWLHV.

            7KH 7XUQDURXQG 3ODQ DOVR FRQWHPSODWHG D JHQHUDO VKLIW IURP D GLVWULEXWRU-SXVK

PRGHO WR D FRQVXPHU-SXOO PRGHO WR DGGUHVV WKH QHHGV RI PRGHUQ FRQVXPHUV DQ RPQLFKDQQHO

HYROXWLRQDQGH[SDQVLRQLQWRQHZSURGXFWFDWHJRULHVWREULQJPRUHLQQRYDWLYHVROXWLRQVWRWKH

PDUNHW/LTXLGLW\FRQVWUDLQWVDQGWKHGLVUXSWLRQRIWKH&29,'-SDQGHPLFKRZHYHULQWHUUXSWHG

LPSOHPHQWDWLRQRIWKH7XUQDURXQG3ODQDQGDOVRVNHZHGSHUFHSWLRQRILWVSURJUHVV

            7KH LQLWLDO 7XUQDURXQG 3ODQ DW ILUVW DSSHDUHG YHU\ VXFFHVVIXO DQG WKH &RPSDQ\

HQMR\HG PXOWLSOH TXDUWHUV RI GRXEOH-GLJLW (%,7'$ JURZWK RYHU WKH FRXUVH RI  DQG .

In 1RYHPEHU  WKH &RPSDQ\ ZDV DEOH WR HQWHU LQWR WKH &UHGLW $JUHHPHQW UHILQDQFLQJ LWV

then-H[LVWLQJFDSLWDOVWUXFWXUHWKRXJKD PLOOLRQUHYROYLQJFUHGLWIDFLOLW\DQGDPLOOLRQ

WHUP ORDQ IDFLOLW\ SURYLGHG E\ FHUWDLQ SUHSHWLWLRQ EDQN OHQGHUV XQGHU WKH &UHGLW $JUHHPHQW

WKH “3UHSHWLWLRQ %DQN/HQGHUV”)7KHHIIHFWRIWKHUHILQDQFLQJZDVWRSURYLGH WKH&RPSDQ\ZLWK

DFFHVVWRPLOOLRQRILQFUHPHQWDOOLTXLGLW\LQWKHDJJUHJDWHWRIXUWKHUSXUVXHWKH7XUQDURXQG

3ODQ




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III.    Prior Restructuring Efforts and Engagement of Restructuring Professionals.

             (QWU\ LQWR WKH &UHGLW $JUHHPHQW ZDV LQWHQGHG WR SXW WKH &RPSDQ\ RQ D SDWK

WRZDUGVVXVWDLQDEOHIXWXUHJURZWKEXWHDUO\JDLQVWXUQHGRXWWREHWHPSRUDU\DQGZHUHUHSODFHG

ZLWKORQJHU-WHUPFKDOOHQJHV7KHLQLWLDOSDQGHPLFVDOHVEXPSVORZHGDQGPDFURHFRQRPLFFRVW

GULYHUVIODUHGLQFOXGLQJLQIODWLRQWKHVWUHQJWKHQLQJRIWKHGROODUUHODWLYHWRPRVWRWKHUFXUUHQFLHV

DQGVXVWDLQHGJOREDOVXSSO\FKDLQGLVUXSWLRQV$GGLWLRQDOO\WKH&RPSDQ\PDGHVHYHUDOFKDQJHV

WR6DOHV)RUFHFRPSHQVDWLRQPRGHOVWKDWXQLQWHQWLRQDOO\PDGHUHPDLQLQJZLWKWKH&RPSDQ\OHVV

DWWUDFWLYHIRUKLJK SHUIRUPHUVDQGUHVXOWHGLQ6DOHV)RUFHDWWULWLRQFRPSRXQGLQJFKDOOHQJHVZLWK

WKH GLUHFW VHOOLQJ PRGHO  $V D FRQVHTXHQFH RI WKHVH DQG RWKHU IDFWRUV VDOHV DQG SURILWDELOLW\

PHWULFVGHFOLQHGUDSLGO\—OHDGLQJWRDUHYHQXHGURSRIRYHU <R<—LQDQG :KLOH

H[HFXWLRQRQWKHLQLWLDO7XUQDURXQG3ODQVWDOOHGWKH&RPSDQ\EHJDQWREXFNOH XQGHUZKDWKDG

EHFRPHDQXQVXVWDLQDEOHFDSLWDOVWUXFWXUH.

        A.      The First, Second, and Third Amendments to the Credit Agreement.

             :LWKWKHVXSSRUWRIthe PUHSHWLWLRQ %DQN /HQGHUVFHUWDLQRIWKH'HEWRUVHQWHUHG

LQWR VHYHUDO DPHQGPHQWV WR WKH &UHGLW $JUHHPHQW LQ DQ DWWHPSW WR REWDLQ JUHDWHU ILQDQFLDO

IOH[LELOLW\2Q$XJXVW 1, WKH'HEWRUV party thereto HQWHUHGLQWRWKHILUVWDPHQGPHQWWRWKH

&UHGLW$JUHHPHQW$PRQJRWKHUWHUPVDQGFRQGLWLRQVWKLVILUVWDPHQGPHQWDOORZHGIRUWHPSRUDU\

UHOLHIIURPFHUWDLQILQDQFLDOFRYHQDQWVe.g.SHUPLWWLQJDWHPSRUDU\KLJKHUPD[LPXPFRQVROLGDWHG

QHWOHYHUDJHUDWLRLQH[FKDQJHIRUFKDQJHVWRRWKHUSURYLVLRQVVXFKDVLQFUHDVHGUHVWULFWLRQVRQ

SHUPLWWHG GHEW FDSDFLW\ GXULQJ WKH WHPSRUDU\UHOLHISHULRG 7KH ILUVWDPHQGPHQWWRWKH&UHGLW

$JUHHPHQW ZDV QRW HQRXJK IRU WKH &RPSDQ\ WR FRXUVH-FRUUHFW DQG RQ 1RYHPEHU   LQ

FRQQHFWLRQ ZLWK LWV WKLUG TXDUWHU )< HDUQLQJV UHOHDVH WKH &RPSDQ\ LVVXHG D ³JRLQJ

FRQFHUQ´ ZDUQLQJ




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              2Q'HFHPEHU1DQG)HEUXDU\WKH'HEWRUVparty thereto HQWHUHG

LQWRVHFRQGDQGWKLUGDPHQGPHQWVUHVSHFWLYHO\WRWKH&UHGLW$JUHHPHQWZKLFKSURYLGHGVLPLODU

DGGLWLRQDOFRYHQDQWZDLYHUVRUPRGLILFDWLRQVDWWKHFRVWRI IXUWKHUUHVWULFWLRQV7KHVHDPHQGPHQWV

LQFOXGHGFHUWDLQPDWHULDOFKDQJHVWRWKH&UHGLW$JUHHPHQWVXFKDV D VKRUWHQLQJWKHPDWXULW\GDWH

IURP 1RYHPEHU   WR 1RYHPEHU   E  UHGXFLQJ then-H[LVWLQJ 0H[LFDQ 7UDQFKH

5HYROYLQJ&RPPLWPHQWVDQG6LQJDSRUHDQ7UDQFKH5HYROYLQJ&RPPLWPHQWVWRDQGUHPRYLQJ

$GPLQLVWUDGRUD'DUW6GH5/GH&9 D0H[LFDQHQWLW\ DQG7XSSHUZDUH%UDQGV$VLD3DFLILF

3WH/WG D6LQJDSRUHDQHQWLW\ UHVSHFWLYHO\DVVXEVLGLDU\ERUURZHUVWKHUHXQGHUDQG F UHGXFLQJ

tKH FRPPLWPHQWV XQGHU WKH 5HYROYLQJ &UHGLW )DFLOLW\ IURP  PLOOLRQ WR  PLOOLRQ DQG

FRQYHUWLQJPLOOLRQRIRXWVWDQGLQJ*OREDO7UDQFKH5HYROYLQJ/RDQVLQWRDVHSDUDWHWHUPORDQ

WKDW UHGXFHG WKH RYHUDOO FRPPLWPHQWV XQGHU WKH 5HYROYLQJ &UHGLW )DFLOLW\  (YHQ ZLWK the

DGGLWLRQDOFRYHQDQWUHOLHISURYLGHGWKURXJKWKHVHDPHQGPHQWVWKH&RPSDQ\FRQWLQXHGWRVWUXJJOH

WRLPSOHPHQWWKH7XUQDURXQG3ODQPLWLJDWHLWV³JRLQJFRQFHUQ´FRQGLWLRQDQGDFKLHYHWDUJHWHG

UHVXOWV

           B.    Retention of Restructuring Professionals and the Fourth Amendment to the
                 Credit Agreement.

              In 1RYHPEHU  WKH &RPSDQ\ HQJDJHG $ 0 DV ILQDQFLDO DGYLVRU DQG

VXEVHTXHQWO\ HQJDJHG LQ HDUO\  .LUNODQG  (OOLV //3 ³.LUNODQG´  DV OHJDO FRXQVHO DQG

0RHOLV &RPSDQ\//& ³0RHOLV”), as LQYHVWPHQWEDQNHUWRDGYLVHRQLWVFDSLWDOVWUXFWXUHWKH

³JRLQJ FRQFHUQ´ ZDUQLQJ OLTXLGLW\ LPSURYHPHQW DQG SRWHQWLDO ILQDQFLQJ DQG UHVWUXFWXULQJ

DOWHUQDWLYHV

              OQ0D\WKH'HEWRUVparty thereto HQWHUHGLQWRDIRXUWKDPHQGPHQWWRWKH

&UHGLW $JUHHPHQW SHUPLWWLQJ LQFUHPHQWDOERUURZLQJWRSD\SDVW-GXHLQWHUHVWDGGLQJLQFUHDVHG




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UHSRUWLQJDQGLQIRUPDWLRQVKDULQJUHTXLUHPHQWVDQGUHTXLULQJWKDWWKH&RPSDQ\DSSRLQWPH as

&KLHI5HVWUXFWXULQJ2IILFHU

        C.      The 2023 Marketing Process.

             $VGLVFXVVHGLQWKH6WHLQEHUJ'HFODUDWLRQ0RHOLVFRPPHQFHGDIRUPDOPDUNHWLQJ

SURFHVV LQ $SULO  RQ EHKDOI RI WKH 'HEWRUV WR ORFDWH D WKLUG-SDUW\ LQYHVWPHQW WR IXQG WKH

&RPSDQ\¶VWXUQDURXQG7KLVPDUNHWLQJSURFHVVUDQLQSDUDOOHOWRQHJRWLDWLRQVZLWKWKH3UHSHWLWLRQ

%DQN/HQGHUVUHJDUGLQJ a VWDQGDORQHUHVWUXFWXULQJ RURWKHUVWUDWHJLF DOWHUQDWLYHV

             7KLVSURFHVVLQYROYHG0RHOLVPDNLQJFRQWDFWZLWK HLJKW\-VL[ SRWHQWLDOILQDQFLDORU

VWUDWHJLF LQYHVWRUV HLWKHU WKURXJK RXWERXQG VROLFLWDWLRQV RU LQERXQG LQTXLULHV. TKH &RPSDQ\

VXEVHTXHQWO\H[HFXWHGQRQGLVFORVXUHDJUHHPHQWV ³NDAs”) ZLWKWKLUW\-VL[SDUWLHVZKRZHUHthen

JUDQWHG DFFHVV WR WKH 'HEWRUV¶ YLUWXDO GDWD URRP  2I WKH SDUWLHV WKDW H[HFXWHG 1'$V HLJKW

VXEPLWWHGLQGLFDWLRQVRILQWHUHVW HDFKDQ“IOI”).

             7KHPDUNHWLQJSURFHVVJHQHUDWHGVLJQLILFDQWLQWHUHVWIURPQXPHURXVSDUWLHVEXWWKH

3UHSHWLWLRQ %DQN /HQGHUV XOWLPDWHO\ GHWHUPLQHGWKDWQRQHRIWKH SURSRVDOVUHFHLYHGWKURXJKWKH

SURFHVV ZHUH VXIILFLHQWO\ DWWUDFWLYH DQG WKH &RPSDQ\ UHIRFXVHG LWV HIIRUWV RQ HIIHFWXDWLQJ a

VWDQGDORQHUHVWUXFWXULQJZLWKWKH3UHSHWLWLRQ%DQN/HQGHUV

        D.      The Debt Restructuring Agreement.

             $V D UHVXOW RQ $XJXVW   IROORZLQJ H[WHQVLYH QHJRWLDWLRQV ZLWK WKH

PUHSHWLWLRQ%DQN/HQGHUVWKH'HEWRUVHQWHUHGLQWRWKDWFHUWDLQ'HEW5HVWUXFWXULQJ$JUHHPHQWE\

DQG DPRQJ 7XSSHUZDUH %UDQGV &RUSRUDWLRQ DV SDUHQW ERUURZHU 73$* DV 6ZLVV VXEVLGLDU\

ERUURZHU WKH VXEVLGLDU\ JXDUDQWRUV SDUW\ WKHUHWR :HOOV )DUJR %DQN 1DWLRQDO $VVRFLDWLRQ, as

DGPLQLVWUDWLYH DJHQW DQG WKH /HQGHUV SDUW\ WKHUHWR DV DPHQGHG UHVWDWHG VXSSOHPHQWHG RU

RWKHUZLVH PRGLILHG IURP WLPH WR WLPH WKH ³'HEW 5HVWUXFWXULQJ $JUHHPHQW´  ZKLFK HIIHFWHG

DGGLWLRQDODPHQGPHQWVWRWKH&UHGLW$JUHHPHQWDQGZDLYHGFHUWDLQHYHQWVRIGHIDXOW WKHUHXQGHU


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            7KH 'HEW 5HVWUXFWXULQJ $JUHHPHQW VXEVWDQWLDOO\ UHRUJDQL]HG WKH &RPSDQ\¶V

FDSLWDOVWUXFWXUHOHDGLQJWRWKH&UHGLW$JUHHPHQW FDSLWDOVWUXFWXUHRXWOLQHGDERYH—i.e., WKH*OREDO

7UDQFKH5HYROYLQJ&RPPLWPHQWVWKH86'7HUP$/RDQVthe 86'7HUP&/RDQVDQGWKH(85

7HUP ' /RDQV—DQG SURYLGLQJ IRU DPRQJ RWKHU WKLQJV WKH UHGXFWLRQ RU UHDOORFDWLRQ RI

DSSUR[LPDWHO\  PLOOLRQ RI FDVK LQWHUHVW DQG IHHV D PDWXULW\ H[WHQVLRQ UHGXFWLRQ RI

DPRUWL]DWLRQSD\PHQWVDQGUHVWUXFWXULQJRIUHYROYLQJERUURZLQJFDSDFLW\LQDQHIIRUWWRSURYLGH

WKH&RPSDQ\ZLWKDGGLWLRQDOOLTXLGLW\UXQZD\

            $VDFRQGLWLRQWRSURYLGLQJWKH&RPSDQ\ZLWKWKLVVLJQLILFDQWDGGLWLRQDOIOH[LELOLW\

DQG UHOLHI WKH 'HEW 5HVWUXFWXULQJ $JUHHPHQW UHTXLUHG WKDW WKH &RPSDQ\ LPSOHPHQW D QHZ

JRYHUQDQFH IUDPHZRUN WR HQKDQFH H[HFXWLRQ DQG UHGHYHORSPHQW RI WKH 7XUQDURXQG 3ODQ

The 'HEW 5HVWUXFWXULQJ $JUHHPHQW DOVR UHTXLUHG WKDW WKH &RPSDQ\ FRPSUHKHQVLYHO\ H[SORUH

WUDQVIRUPDWLRQDO UHVWUXFWXULQJ DOWHUQDWLYHV  6SHFLILFDOO\ WKH 'HEW 5HVWUXFWXULQJ $JUHHPHQW

UHTXLUHGWKDWWKH&KLHI5HVWUXFWXULQJ2IILFHUSUHSDUHDUHGHVLJQHG7XUQDURXQG3ODQZLWKDUHQHZHG

IRFXVRQLPSURYHGILQDQFLDOSHUIRUPDQFHDQGGLVSRVLWLRQRIFHUWDLQDVVHWV.

       E.      DRA-Related Leadership Changes.

            7KH'HEW5HVWUXFWXULQJ$JUHHPHQWUHTXLUHGWKDWWKH&RPSDQ\SODFHDGLUHFWRURQ

WKH%RDUGZLWKH[SHULHQFHLQUHVWUXFWXULQJDQGWXUQDURXQGPDWWHUV2Q$XJXVWWKH%RDUG

DSSRLQWHG0U3DXO$URQ]RQDVDQLQGHSHQGHQWGLUHFWRU6LPXOWDQHRXVO\ZLWKWKHDSSRLQWPHQWRI

0U $URQ]RQ WKH &RPSDQ\ DOVR HVWDEOLVKHG D VSHFLDO FRPPLWWHH ZLWK GHOHJDWHG DXWKRULW\ WR

LQYHVWLJDWH DQDO\]H HYDOXDWH QHJRWLDWH DQG LI DSSURSULDWH DSSURYH DQG H[HFXWH VWUDWHJLF

WUDQVDFWLRQVDYDLODEOHWRWKH&RPSDQ\LQFOXGLQJZLWKUHVSHFWWRWKH7XUQDURXQG3ODQ7KHRULJLQDO

PHPEHUVRIWKH7UDQVIRUPDWLRQ&RPPLWWHHZHUH0U $URQ]RQDQG0U5LFKDUG5LOH\

            2Q2FWREHUWKH&RPSDQ\DQQRXQFHGWKHDSSRLQWPHQWRI0V/DXULH$QQ

*ROGPDQDV3UHVLGHQW&KLHI([HFXWLYH2IILFHUDQGDGLUHFWRURIWKH%RDUGDQGWKHDSSRLQWPHQW


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RIWKUHHDGGLWLRQDOGLUHFWRUV0V/RUL%XVK0U3DXO.HJOHYLFDQG0U:LOOLDP7UDQVLHU8SRQ

WKHLU DSSRLQWPHQW WR WKH %RDUG 0U .HJOHYLF DQG 0U 7UDQVLHU ZHUH DOVR DSSRLQWHG WR WKH

7UDQVIRUPDWLRQ&RPPLWWHH

       F.      The Fifth and Sixth Amendments to the Credit Agreement.

            :KLOH WKH 'HEW 5HVWUXFWXULQJ $JUHHPHQW KHOSHG WKH 'HEWRUV PDQDJH WKHLU

OLDELOLWLHVDQGRIIHUHGDQRSSRUWXQLW\WRGHYHORSDQGLPSOHPHQWWKH7XUQDURXQG3ODQWKH'HEWRUV¶

VXEVWDQWLDOREOLJDWLRQVXQGHUWKH&UHGLW$JUHHPHQWFRQWLQXHGWRSUHVVXUHOLTXLGLW\DQGRSHUDWLRQDO

IOH[LELOLW\2Q2FWREHUDQG'HFHPEHUWKH'HEWRUV party thereto HQWHUHGLQWRWKH

ILIWK DQG VL[WKDPHQGPHQWVWRWKH &UHGLW$JUHHPHQWUHVSHFWLYHO\WRREWDLQ UHOLHIIURPFHUWDLQ

ILQDQFLDOUHSRUWLQJUHTXLUHPHQWVDQGIURPPLOHVWRQHVUHODWHGWRWKH7XUQDURXQG3ODQ

       G.      The Forbearance Agreement.

            ,Q HDUO\ )HEUXDU\  ZKLOH HQJDJHG LQ GLVFXVVLRQV ZLWK WKH 3UHSHWLWLRQ %DQN

/HQGHUV WKH'HEWRUVPLVVHGDQLQWHUHVWSD\PHQWGXHXQGHUWKH&UHGLW$JUHHPHQW&RQVHTXHQWO\

RQ)HEUXDU\  WKH'HEWRUVHQWHUHGLQWRWKHLQLWLDO)RUEHDUDQFH$JUHHPHQW ZLWKFHUWDLQRI

WKH 3UHSHWLWLRQ %DQN /HQGHUV DQG WKH &UHGLW $JUHHPHQW $GPLQLVWUDWLYH $JHQW ZKR DJUHHG WR

IRUEHDUIURPH[HUFLVLQJULJKWVDQGUHPHGLHVRQDFFRXQWRIWKHGHIDXOWVVSHFLILHGWKHUHLQXQWLO-XQH

  VXEMHFW WR WKH 'HEWRUV¶ FRPSOLDQFH ZLWK WKH WHUPV RI WKH )RUEHDUDQFH $JUHHPHQW

LQFOXGLQJ PLOHVWRQHV IRU D VHFRQG PDUNHWLQJ             SURFHVV DQG DV D FRQWLQJHQF\

FKDSWHU 11 SUHSDUDWLRQV

       H.      The 2024 Marketing Process.

            SXEVWDQWLDOO\ FRQFXUUHQWO\ ZLWK HQWU\ LQWR WKH )RUEHDUDQFH $JUHHPHQW the

&RPSDQ\ZLWKWKHDVVLVWDQFHRI0RHOLV, ODXQFKHGDVHFRQGIRUPDOWKLUG-SDUW\PDUNHWLQJSURFHVV

LQ)HEUXDU\WRUHHYDOXDWHPDUNHWLQWHUHVWDQGVROLFLWDQ\DQGDOOSURSRVDOV IURP SRWHQWLDOO\

LQWHUHVWHG SDUWLHV, raQJLQJ IURP RXW-RI-FRXUW UHFDSLWDOL]DWLRQ VWUXFWXUHV WR DVVHW VDOHV WR


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ZKROH-FRPSDQ\ WUDQVDFWLRQV  ,Q 0DUFK  0RHOLV DOVR FLUFXODWHG D GHWDLOHG FRQILGHQWLDO

LQIRUPDWLRQSUHVHQWDWLRQFRQWDLQLQJDQXSGDWHGVWUDWHJLFEXVLQHVVSODQWRSRWHQWLDOLQYHVWRUV.

             7KLV WLPH, 0RHOLV GLVFXVVHG YDULRXV SRWHQWLDO WUDQVDFWLRQV ZLWK DSSUR[LPDWHO\

HLJKW\-IRXU SRWHQWLDO ILQDQFLDO RU VWUDWHJLF LQYHVWRUV—ZLWK H[SHULHQFH LQ WKH FRQVXPHU JRRGV

VHFWRURSHUDWLRQDOWXUQDURXQGVDQGRUGLVWUHVVHGVLWXDWLRQV$SSUR[LPDWHO\WZHQW\-HLJKW RIWKRVH

SDUWLHV H[HFXWHG NDAs  2I WKH SDUWLHV WKDW H[HFXWHG 1'$V VHYHQ WKH “,QWHUHVWHG 3DUWLHV”)

HQJDJHG LQ DGGLWLRQDO GLVFXVVLRQV UHJDUGLQJ SRWHQWLDO WUDQVDFWLRQV  0RHOLV UHTXHVWHG WKDW HDFK

,QWHUHVWHG3DUW\VXEPLWDQRQ-ELQGLQJ,2,E\$SULO  

             2Q $SULO   0RHOLV DFWLQJ RQ EHKDOI RI 7XSSHUZDUH UHFHLYHG ILYH

non-ELQGLQJ,2,V L WKUHHRIZKLFKSURSRVHGDFTXLULQJWKHHQWLUHW\RIWKH&RPSDQ\YLDDQHTXLW\

DFTXLVLWLRQDQG LL WZRRIZKLFKFRQWHPSODWHGD³EUDQGPDQDJHPHQW´VROXWLRQ$IWHUWKRURXJKO\

HYDOXDWLQJHDFKnon-ELQGLQJ,2,WKH&RPSDQ\DQGLWVDGYLVRUVUHTXHVWHGELQGLQJ,2,VIURPIRXU

RIWKH,QWHUHVWHG3DUWLHVE\0D\  

             2QO\ RQH SDUW\ WKH ³/HDGLQJ %LGGHU´  PHW WKH GHDGOLQH DQG SUHVHQWHG DQ RIIHU

WKH “/HDGLQJ %LG´  WKDW HQFRPSDVVHG D ZKROH-FRPSDQ\ VROXWLRQ  7KH /HDGLQJ %LGGHU KDG

DOUHDG\ FRQGXFWHG H[WHQVLYH GLOLJHQFH VXEVWDQWLDOO\ PRUH WKDQ DQ\ RWKHU ELGGHU  LQFOXGLQJ

QXPHURXVFDOOVZLWK7XSSHUZDUH¶VPDQDJHPHQWGLOLJHQFHVHVVLRQVDWHLJKWGLIIHUHQW7XSSHUZDUH

IDFLOLWLHV DQG RQH LQ-SHUVRQ PDQDJHPHQW PHHWLQJ  $IWHU WKH 0D\ GHDGOLQH SDVVHG RQH

³ZKROH-FRPSDQ\ELGGHU´H[SUHVVHGLWVZLOOLQJQHVVWRDFTXLUHRQO\FHUWDLQUHJLRQVRIWKHEXVLQHVV

DQG RQH ³EUDQG-PDQDJHPHQW ELGGHU´ UHLWHUDWHG LWV LQWHUHVW LQ D EUDQG-FHQWHUHG WUDQVDFWLRQ \HW

GHFOLQHGWKH&RPSDQ\¶VUHTXHVWWRSUHVHQWDFRPSUHKHQVLYHVROXWLRQUQGHUWKHFLUFXPVWDQFHV

WKH &RPSDQ\ DQG LWV DGYLVRUV FRQFOXGHGWKDWWKH/HDGLQJ%LGZDVWKHEHVWDYDLODEOH RSWLRQ WR




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ULJKW-VL]H 7XSSHUZDUH¶V RYHUOHYHUHG EDODQFH VKHHW DQG SRVLWLRQ LW IRU ORQJ-WHUP VXVWDLQDEOH

JURZWK

           $JDLQ DV VHW IRUWK LQ JUHDWHU GHWDLO LQ WKH 6WHLQEHUJ 'HFODUDWLRQ WKH PDUNHWLQJ

SURFHVV JHQHUDWHG VLJQLILFDQW LQWHUHVW IURP QXPHURXV SDUWLHV 7KURXJK WKH 6SULQJ RI 

the &RPSDQ\ DQG LWV DGYLVRUV FDUHIXOO\ HYDOXDWHG SURSRVDOV DQG QHJRWLDWHG ZLWK LQWHUHVWHG

FRXQWHUSDUWLHV WR LGHQWLI\ D FRPSUHKHQVLYH VROXWLRQ IRU WKH &RPSDQ\  7KLV VHFRQG SURFHVV

UHVXOWHGLQDWUDQVDFWLRQSURSRVDO IURPWKH/HDGLQJ%LGGHU that—DIWHUH[WHQVLYHGHYHORSPHQWDQG

QHJRWLDWLRQ—IHOOWKURXJKRQWKHHYHRIH[HFXWLRQJRLQJLQWRWKH-XO\KROLGD\ZHHNHQG

           6HSDUDWHO\ WKDW VDPH GD\ WKH &RPSDQ\ DQG LWV DGYLVRUV ZHUH DSSURDFKHG E\ D

SRWHQWLDO GHEWRU-LQ-SRVVHVVLRQ OHQGHU WKH ³PRWHQWLDO ',3 /HQGHU”) ZKR SURSRVHG WR IXQG WKH

'HEWRUV¶FKDSWHUFDVHVDQGSURYLGHDFUHGLWELGWRVHUYHDVDVWDONLQJKRUVHIRUDFKDSWHU

SURFHVV WKH “DIP &UHGLW %LG 3URSRVDO”). ,Q SDUDOOHO ZLWK GLVFXVVLRQV ZLWK WKH 3RWHQWLDO ',3

/HQGHU0RHOLVFRPPHQFHGDWKLUGURXQGRIRXWUHDFK

       I.      The Forbearance Agreement Amendments.

           2Q -XQH   WKH 'HEWRUV WKH &UHGLW $JUHHPHQW $GPLQLVWUDWLYH $JHQW DQG

FHUWDLQ RI WKH 3UHSHWLWLRQ %DQN /HQGHUV HQWHUHG LQWR WKH ILUVW $PHQGPHQW WR )RUEHDUDQFH

$JUHHPHQW WKH “)LUVW)RUEHDUDQFH$PHQGPHQW”) WRDPRQJRWKHUWKLQJVH[WHQGWKHPLOHVWRQHIRU

HQWU\ LQWR DGHILQLWLYHDJUHHPHQW ,QH[FKDQJHWKH)LUVW)RUEHDUDQFH $PHQGPHQW UHGXFHG the

SHUPLWWHG $JJUHJDWH *OREDO 7UDQFKH 5HYROYLQJ &UHGLW ([SRVXUH DV GHILQHG LQ WKH &UHGLW

$JUHHPHQW  WR WKH WKHQ-FXUUHQW $JJUHJDWH *OREDO 7UDQFKH 5HYROYLQJ &UHGLW ([SRVXUH OHYHO

i.e., IUR]H WKHUHYROYHU 7RHQVXUHWKDWWKH'HEWRUVFRQWLQXHGWRKDYHOLTXLGLW\ZLWKRXWIXUWKHU

GUDZVRQWKH5HYROYLQJ&UHGLW)DFLOLW\WKH)LUVW)RUEHDUDQFH$PHQGPHQWDOVRDGMXVWHGFHUWDLQ

rHSD\PHQWUHTXLUHPHQWV.




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             $IWHU eQWU\ LQWR WKH )LUVW )RUEHDUDQFH $PHQGPHQW WKH &UHGLW $JUHHPHQW

$GPLQLVWUDWLYH $JHQW DFWLQJ LQ LWV VROH GLVFUHWLRQ DSSURYHG VHYHUDO DGGLWLRQDO H[WHQVLRQV RI

FHUWDLQ RI PLOHVWRQHV DQG WKH tHUPLQDWLRQ GDWH, XOWLPDWHO\ SRVWSRQLQJ WKHP XQWLO -XO\ 14, 

On -XO\   WKH 'HEWRUV WKH &UHGLW $JUHHPHQW $GPLQLVWUDWLYH $JHQW DQG FHUWDLQ RI WKH

3UHSHWLWLRQ %DQN /HQGHUV HQWHUHG LQWR WKH 6HFRQG $PHQGPHQW WR )RUEHDUDQFH $JUHHPHQW

WKH “6HFRQG )RUEHDUDQFH $PHQGPHQW´  ZKLFK H[WHQGHG WKH )RUEHDUDQFH $JUHHPHQW XQWLO

$XJXVW   ,QFRQQHFWLRQZLWKHQWU\LQWRWKH6HFRQG)RUEHDUDQFH$JUHHPHQWthe Debtors

OLIWHGFHUWDLQUHVWULFWLRQVRQWUDGLQJWKHWHUPORDQVZKLFKZHUHFRQWDLQHGLQWKH&UHGLW$JUHHPHQW

DQGFHUWDLQFRQILGHQWLDOLW\DJUHHPHQWV

        J.       Arrival of the Ad Hoc Group: the Bridge Facility, the Third Forbearance
                 Amendment, and the Seventh Credit Agreement Amendment.

             %\ PLG -XO\ WKH 'HEWRUV KDG GHWHUPLQHG WKDW WKH DIP &UHGLW %LG 3URSRVDO

SUHVHQWHG WKH EHVW DYDLODEOH VROXWLRQ WR WKHLU PRXQWLQJ OLTXLGLW\ FRQFHUQV DQG SURJUHVVHG ZLWK

QHJRWLDWLRQVDFFRUGLQJO\ AIWHUVHYHUDOSURPLVLQJZHHNVRIQHJRWLDWLRQVZLWKWKH3RWHQWLDO',3

/HQGHU KRZHYHU DPDMRULW\E\SULQFLSDODPRXQWRI WKH'HEWRUV¶SUHSHWLWLRQGHEWVXGGHQO\WUDGHG

WR WKH $G +RF *URXS DQG :H[IRUG LQ D VHULHV RI WUDQVDFWLRQV  6XFK D VXEVWDQWLDO WUDGH RI WKH

'HEWRUV¶ SUHSHWLWLRQ GHEW LQWURGXFHG XQFHUWDLQW\ UHJDUGLQJ H[HFXWLRQ RQ WKH DIP &UHGLW %LG

3URSRVDODQGQHJRWLDWLRQVZLWKWKH3RWHQWLDO',3/HQGHUVWDOOHG.

             2Q-XO\WKH$G+RF*URXSFRQILUPHGWKDWLWZDVQRWLQWHUHVWHGLQDWKLUG

SDUW\SURYLGLQJDSULPLQJ',3IDFLOLW\DQGSURYLGHGWKH'HEWRUVZLWKDQRQ-ELQGLQJWHUPVKHHW

UHJDUGLQJDEULGJHIDFLOLW\WRDOORZWLPHIRUGLVFXVVLRQVOQ$XJXVWWKH$G+RF*URXS

SURYLGHGDQPLOOLRQ EULGJHORDQ KDOIRIZKLFKFDPHLQWKHIRUPRIDGHOD\HGGUDZWHUP ORDQ

WKDWZDVIXQGHGRQ$XJXVW QHWWLQJDSSUR[LPDWHO\PLOOLRQRISURFHHGVWDNLQJLQWR

DFFRXQWD2,'7KH%ULGJH)DFLOLW\ZDV VHFXUHGE\FHUWDLQRIWKH'HEWRUV¶LQYHQWRU\ZKLFK



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tKH $G +RF *URXS DV PDMRULW\ OHQGHUV GLUHFWHG EH UHOHDVHG IURP WKH FROODWHUDO VHFXULQJ WKH

H[LVWLQJIDFLOLWLHVXQGHUWKH&UHGLW$JUHHPHQWWR VHUYHDVFROODWHUDOIRUWKHEULGJHORDQ7KH$G

+RF *URXS GLG QRW DOORZ WKH RWKHU OHQGHUV WR SDUWLFLSDWH LQ WKH EULGJH ORDQ DQG RQH OHQGHU

:H[IRUGVXEVHTXHQWO\ILOHGDODZVXLWDJDLQVWWZRPHPEHUVRIWKH$G+RF*URXSLQFRQQHFWLRQ

ZLWKWKHEULGJHORDQZKLFKODZVXLWUHPDLQVSHQGLQJ See KIA II LLC v. Alden Global Capital

LLC and Stonehill Institutional Partners, L.P.,QGH[1R 1<6XS&W. $XJ 

6LQFHHQWHULQJLQWRWKH%ULGJH)DFLOLW\WKH'HEWRUVKDYHHQFRXUDJHGWKH$G+RF*URXSWRHQJDJH

FRQVWUXFWLYHO\ZLWK:H[IRUGQRWZLWKVWDQGLQJWKHODZVXLWWKRXJKWKH'HEWRUVXQGHUVWDQGWKDWWR-

GDWHWKH$G+RF*URXSKDVKHVLWDWHGWRGRVR ,QFRQQHFWLRQZLWKHQWU\LQWRWKH%ULGJH)DFLOLW\

WKH )RUEHDUDQFH 7HUPLQDWLRQ 'DWH ZDV H[WHQGHG WR 6HSWHPEHU   WR FRLQFLGH ZLWK WKH

PDWXULW\GDWHRIWKH%ULGJH)DFLOLW\

            ,Q SDUDOOHO ZLWK QHJRWLDWLRQ RI WKH %ULGJH )DFLOLW\ WKH 'HEWRUV HQWHUHG LQWR

GLVFXVVLRQVZLWKWKH$G +RF*URXSUHJDUGLQJDJRLQJ-FRQFHUQWUDQVDFWLRQLQZKLFKWKH$G+RF

*URXS ZRXOG DFTXLUH WKH 7XSSHUZDUH EUDQG QDPH VHOHFW DVVHWV LQ WKH 86 DQG VHOHFW IRUHLJQ

VXEVLGLDULHV  :HHNV RI LQ-GHSWK GLOLJHQFH PHHWLQJV RFFXUUHG DPRQJ SULQFLSDOV DQG DGYLVRUV

UHJDUGLQJWKH&RPSDQ\¶VEXVLQHVVDQGVWUXFWXUHDQGWKHSURSRVHGJR-IRUZDUGEXVLQHVVPRGHO

        K.      Commencement of the Chapter 11 Cases.

            The Debtors DQGWKHLUDGYLVRUV ZRUNHGZLWKYDULRXVVWDNHKROGHUVLQFOXGLQJWKH$G

+RF*URXS, WRIRUJHDFOHDUSDWKIRUZDUGIRUWKH'HEWRUV¶VWRULHGEXVLQHVVDQGWRPD[LPL]HYDOXH

IRU DOO VWDNHKROGHUV. )ROORZLQJZHHNVRIGLVFXVVLRQVUHJDUGLQJ D SRWHQWLDO FKDSWHUILOLQJ WR

LPSOHPHQWDWUDQVDFWLRQRQ$XJXVWWKH$G+RF*URXSLQIRUPHGWhe Debtors WKDWLWZDV

LQVWHDGVWURQJO\FRQVLGHULQJLPSOHPHQWLQJLWVSURSRVHGDFTXLVLWLRQWKURXJKDQRXW-RI-FRXUWVWULFW

IRUHFORVXUH RQ D VXEVHW RI WKH Debtors¶ DVVHWV LQFOXGLQJ WKH 7XSSHUZDUH EUDQG QDPH AIWHU

VLJQLILFDQWGHOLEHUDWLRQWKHERDUGRIGLUHFWRUVGHWHUPLQHGWKDWJLYHQWKHQXPEHURIFRQVWLWXHQWV


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DQGSDUWLHVLQLQWHUHVWLQYROYHGLWFRXOGQRWVXSSRUWDVWULFWIRUHFORVXUH. $FFRUGLQJO\WKH'HEWRUV

KDYH FRPPHQFHG WKHVH FKDSWHU  FDVHV WR XWLOL]H WKHLU OLPLWHG FDVK RQ KDQG WR IXQG DQ

DSSUR[LPDWHO\-GD\ELGGLQJSURFHVV WRSUHVHUYHWKHLUEXVLQHVVDV DJRLQJFRQFHUQDQGIRVWHUD

FRPSHWLWLYHELGGLQJHQYLURQPHQWIRUWKHLUDVVets.

            IQFRQMXQFWLRQZLWKWKHILOLQJRIWKHVHFKDSWHUFDVHV,XQGHUVWDQGWKDW73$*

ZLOO FRPPHQFH D SDUDOOHO PRUDWRULXP SURFHHGLQJ LQ 6ZLW]HUODQG WKH “6ZLVV 3URFHHGLQJ”). I

XQGHUVWDQGWKDW tKH6ZLVV3URFHHGLQJZLOOVXSSOHPHQW73$*¶VFKDSWHUILOLQJLQWKLV&RXUWDQG

LVQHFHVVDU\SXUVXDQWWRWKHODZVJRYHUQLQJ73$*DVD6ZLVVHQWLW\7KH'HEWRUVKDYHHQJDJHG

ORFDOFRXQVHOLQ6ZLW]HUODQGWRIDFLOLWDWHWKH6ZLVV3URFHHGLQJZKLOHWKH'HEWRUV FRQGXFWWKHVH

FKDSWHUFDVHV7KH'HEWRUV¶DGYLVRUVH[SHFWWRFRRUGLQDWHFORVHO\ZLWK6ZLVVFRXQVHOLQRUGHU

WRHQVXUHthat ERWKWKHVHFKDSWHUFDVHVDQGWKH6ZLVV3URFHHGLQJSURFHHGZLWKWKHSDUDPRXQW

JRDORIYDOXHPD[LPL]DWLRQ IRUDOOVWDNHKROGHUV

                          Section 5: Evidentiary Support for First Day Motions

            &RQWHPSRUDQHRXVO\KHUHZLWKWKH'HEWRUVILOHGDQXPEHURI)LUVW'D\0RWLRQVDQG

are VHHNLQJRUGHUVJUDQWLQJYDULRXVIRUPVRIUHOLHILQWHQGHGWRVWDELOL]HWKH&RPSDQ\¶V EXVLQHVV

opHUDWLRQV DQG IDFLOLWDWH WKH HIILFLHQW DGPLQLVWUDWLRQ RI WKHVH FKDSWHU  FDVHV  7KH )LUVW 'D\

0RWLRQV VHHN DXWKRULW\ WR DPRQJ RWKHU WKLQJV HQVXUH VXIILFLHQW OLTXLGLW\ WR UXQ 7XSSHUZDUH¶V

EXVLQHVVHQVXUHWKHFRQWLQXDWLRQRI7XSSHUZDUH¶VFDVKPDQDJHPHQWV\VWHPVDQGDOORZIRURWKHU

EXVLQHVV RSHUDWLRQV ZLWKRXW LQWHUUXSWLRQ  , EHOLHYH WKDW WKH UHOLHI UHTXHVWHG LQ WKH )LUVW 'D\

0RWLRQVLVQHFHVVDU\WRJLYH7XSSHUZDUH DQRSSRUWXQLW\WRZRUNWRZDUGVVXFFHVVIXOFKDSWHU

FDVHVWKDWZLOOEHQHILWDOORIthe DebWRUV¶ VWDNHKROGHUV

            7KH )LUVW 'D\ 0RWLRQV UHTXHVW DXWKRULW\ WR SD\ FHUWDLQ SUHSHWLWLRQ FODLPV

I XQGHUVWDQGWKDW5XOHRIWKH)HGHUDO5XOHVRI%DQNUXSWF\3URFHGXUHSURYLGHVLQUHOHYDQW




                                                     
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SDUWWKDWWKH&RXUWVKDOOQRWFRQVLGHUPRWLRQVWRSD\SUHSHWLWLRQFODLPVGXULQJWKHILUVWGD\V

IROORZLQJ WKH ILOLQJ RI D FKDSWHU  SHWLWLRQ ³H[FHSW WR WKH H[WHQW UHOLHI LV QHFHVVDU\ WR DYRLG

LPPHGLDWHDQGLUUHSDUDEOHKDUP´,QOLJKWRIWKLVUHTXLUHPHQWWKH'HEWRUVKDYHQDUURZO\WDLORUHG

WKHLU UHTXHVWV IRU LPPHGLDWH DXWKRULW\ WR SD\ FHUWDLQ SUHSHWLWLRQ FODLPV WR WKRVH FLUFXPVWDQFHV

ZKHUHWKHIDLOXUHWRSD\VXFKFODLPVZRXOGFDXVHLPPHGLDWHDQGLUUHSDUDEOHKDUPWRthe Debtors

DQGWKHLU HVWDWHV2WKHUUHOLHIZLOOEHGHIHUUHGIRUFRQVLGHUDWLRQDWDODWHUKHDULQJ

        111.     ,DPIDPLOLDUZLWKWKHFRQWHQWDQGVXEVWDQFHRIWKH)LUVW'D\0RWLRQV7KHIDFWV

VWDWHG WKHUHLQ DUH WUXH DQG FRUUHFW WR WKH EHVW RI P\ NQRZOHGJH LQIRUPDWLRQ DQG EHOLHI DQG

I EHOLHYHWKDWWKHUHOLHIVRXJKWLQHDFKRIWKH)LUVW'D\0RWLRQVLVQHFHVVDU\ WRHQDEOHthe Debtors

WR RSHUDWH LQ FKDSWHU  ZLWK PLQLPDO GLVUXSWLRQ WR WKHLU EXVLQHVV RSHUDWLRQV DQG FRQVWLWXWHV D

FULWLFDOHOHPHQWLQVXFFHVVIXOO\LPSOHPHQWLQJ WKH'HEWRUV¶ FKDSWHUVWUDWHJ\$GHVFULSWLRQRI

WKHUHOLHIUHTXHVWHGDQGWKHIDFWVVXSSRUWLQJHDFKRIWKH)LUVW'D\0RWLRQVLVGHWDLOHGLQExhibit E.

                               [Remainder of page intentionally left blank@




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       3XUVXDQW WR  86&   , GHFODUH XQGHU SHQDOW\ RI SHUMXU\ WKDW WKH IRUHJRLQJ

VWDWHPHQWVDUHWUXHDQGFRUUHFWWRWKHEHVWRIP\NQRZOHGJHLQIRUPDWLRQDQGEHOLHI

'DWHG6HSWHPEHU                    By: /s/ Brian J. Fox
                                              1DPH %ULDQ-)R[
                                              7LWOH &KLHI5HVWUXFWXULQJ2IILFHURI7XSSHUZDUH
                                              %UDQGV&RUSRUDWLRQ RQEHKDOIRILWVHOIDQGHDFKRI
                                              LWV'HEWRUDIILOLDWHV
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                      Exhibit A

                  September 11, 2024
             Letter from the Ad Hoc Group
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                       Exhibit B

                  September 14, 2024
        Tupperware Response to the Ad Hoc Group
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                                                                 333 West Wolf Point Plaza
                                                                     Chicago, IL 60654
                                                                       United States
      Spencer A. Winters, P.C.
       To Call Writer Directly:                                       +1 312 862 2000                                              Facsimile:
          +1 312 862 3800                                                                                                       +1 312 862 2200
    spencer.winters@kirkland.com                                      www.kirkland.com




                                                                 September 14, 2024

       Ad Hoc Group
       c/o Allan Brilliant
       Dechert LLP
       Three Bryant Park
       New York, NY 10036


                           Re:        September 9, 2024 Ad Hoc Group Letter

     Dear members of the Ad Hoc Group:

             I write on behalf of Tupperware Brands Corporation (the “Company”), acting at the direction
     of its Board of Directors (the “Board”), in response to your letter dated September 9, 2024.

             The Company and the Ad Hoc Group are in agreement on a number of matters, several of
     which are described in your letter. We agree that the Company, through its highly experienced
     investment banker, Moelis, has conducted a years-long marketing process that to date has resulted in
     no actionable proposal for a sale of the business. Although there was significant interest in the process
     from a number of parties, several of whom submitted bids, the incumbent lenders were not supportive
     of a sale at the values submitted.

             Following that process, the Company agreed to waive provisions in its credit agreement and
     confidentiality agreements that restricted debt sales, and the Company was encouraged by the news,
     received approximately six weeks ago, that the Ad Hoc Group had bought a majority of the funded
     debt from the incumbent lenders. We understand that those transactions closed in the range of
     approximately three to six cents on the dollar. Since the Ad Hoc Group bought into the debt, the
     Company and its advisors have spent weeks with the Ad Hoc Group facilitating extensive due
     diligence regarding the Company, its operations, its financial condition, and its corporate structure.
     We appreciate the constructive approach that the Ad Hoc Group has taken in analyzing the
     Company’s businesses and the funding that the Ad Hoc Group provided to facilitate those discussions.

             Although the Company has yet to receive a written proposal from the Ad Hoc Group to
     purchase any assets of the Company, we understand the Ad Hoc Group is interested in a credit bid
     for a subset of the Company’s assets as a going concern. The Company encourages the Ad Hoc
     Group to submit that bid in writing, as soon as possible, in the form of a marked draft of the asset
     purchase agreement that we sent to you on August 23, 2024. As we have repeatedly communicated


Austin Bay Area Beijing Boston Brussels Chicago Hong Kong Houston London Los Angeles Miami Munich New York Paris Riyadh Salt Lake City Shanghai Washington, D.C.
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    Page 2



to you, the Company is prepared to execute and implement such transaction as quickly and efficiently
as possible.

        As your letter indicates, the disagreement between the Company and the Ad Hoc Group
concerns the implementation mechanism for that sale. The Company and its advisors were surprised
when, on August 30, 2024, the Ad Hoc Group proposed strict foreclosure as a means of implementing
the transaction. Per the letter, the Ad Hoc Group would prefer to use this implementation mechanism
because it “could close before being publicly disclosed” and would not provide “a forum for out-of-
the-money creditors.” In other words, the Tupperware brand name and the Company’s most valuable
assets could be transferred to the Ad Hoc Group without notice to the Company’s unsecured creditors,
shareholders, and other stakeholders and without an opportunity for those stakeholders to be heard.

        As we have conveyed to you repeatedly through multiple channels, this is the same reason
that the Company, acting at the direction of its Board, is not supportive of the strict foreclosure
approach. The Company believes that any asset transfer to the lenders should be effectuated
transparently in an open forum with an opportunity for all parties in interest to object and be heard.
That forum is a chapter 11 proceeding before a U.S. bankruptcy court. As you know, this is the
customary manner in which substantially all comparable transactions are implemented in the United
States. Your proposed approach, involving a strict foreclosure on the core assets of an iconic, NYSE-
listed operating company with funded-debt obligations in excess of $800 million, followed by a
liquidating chapter 11 plan, is without precedent.1

        The Company has many stakeholders other than the Ad Hoc Group, including the
beneficiaries of an underfunded pension, the plaintiffs in multiple lawsuits, trade creditors, and public
shareholders. The Company agrees with the Ad Hoc Group that there are almost certainly insufficient
assets available to provide a recovery to general unsecured creditors or shareholders, as definitively
demonstrated by the years-long marketing process. For that reason, the Company believes a highly
expedited chapter 11 proceeding is appropriate and is reasonably likely to be approved by a U.S.
bankruptcy court. The Company also believes, however, that those parties should be given a fair
opportunity to object and be heard in that expedited proceeding prior to the transfer of assets to the
Ad Hoc Group.

        Contrary to your letter, the Board is not taking this position because of a “main concern” that
the strict foreclosure would expose directors and officers to shareholders suits or that directors and
officers could not otherwise obtain releases. It is true, however, that the Board is rightly concerned
that the Ad Hoc Group’s strict foreclosure approach could give rise to a host of lawsuits, by and
against various parties, asserting that the assets were wrongfully transferred to the Ad Hoc Group.

1
      We have reviewed in detail the purported precedent transactions that you submitted. None is meaningfully
      comparable to the Company’s situation or the proposed transaction.
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 Page 3



Any newly formed corporate entity that received the Company’s assets following a strict foreclosure
would likely find itself embroiled in litigation almost immediately, and its ability to operate
successfully in the ordinary course of business would be severely undercut, with members of the
management team routinely distracted from their core responsibilities and resources needlessly
directed toward avoidable lawsuits. Again, that is among the reasons the Board believes that the
transaction should be implemented in the customary manner that affords those parties an opportunity
to object in an open forum prior to the transfer.

        Your effort to cast these valid fiduciary concerns as a form of self-interest is not
credible. Likewise, your criticisms of the Company’s restructuring efforts to date, including the cost
of advisors over a period of years, are unfounded and unconstructive.

        At your request, the Chairperson and the Transformation Committee of the Board met
Thursday with the Ad Hoc Group to hear directly from the Ad Hoc Group why it believes the strict
foreclosure is the appropriate implementation mechanism. The Company, its advisors, the
Transformation Committee, and the Board have extensively considered the Ad Hoc Group’s proposed
implementation mechanism. After Thursday’s discussion, and after the numerous other discussions
that preceded it, the position of the Company and the Board remains unchanged, for the reasons set
forth in this letter.

       Accordingly, subject to Board approval, the Company expects to commence chapter 11
proceedings in the coming days. To that end, the Company’s advisors will send you a proposed
consensual cash collateral order and bidding procedures order, each of which will contemplate an
approximately 30-day period from filing to entry of a sale order. The Company hopes the Ad Hoc
Group will consent to these pleadings and welcomes the Ad Hoc Group’s comments.

       The Company also urges the Ad Hoc Group to send a marked asset purchase agreement as
soon as possible so that the Company can consider selecting your bid as the successful bid and
proceeding with the sale transaction that both the Company and the Ad Hoc Group wish to
consummate. As a component of that proposal, the Company requests that the Ad Hoc Group indicate
the amount, timing, and form of any pre- and post-closing new-money commitment.

       We look forward to further constructive discussions.



                                                     Sincerely

                                                     /s/ Spencer A. Winters

                                                     Spencer A. Winters, P.C.
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                      Exhibit C

                 September 16, 2024
               Ad Hoc Group Response
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                       Exhibit D

             Organizational Structure Chart
                                                                              Legend


                                                                             Debtor


                                                                             Non-Debtor                                                                                                                                                                                                        Tupperware Brands
                                                                                                                                                                                                                                                                                                  Corporation
                                                                                                                                                                                                                                                                                                (U.S. - Delaware)
                                                                                                                                                                                                                                                                                                                                                           99%




                                                                                                                                                                                                                                   99.998%                                                     Dart Industries Inc.
                                                                                                                                                                                                                                                                                                                                         1%
                                                                                                                                                                                                                                                                                                (U.S. – Delaware)
                                                                                Cav Sul Centro
                                                                                  de Apoio de                                      Latin America                          International                                   Tupperware Brands
                                                                                                                  99.99%                                                                                                                                                                                                                         Tupperware Home
                                                                              Vendas das Productos                                Investments, Inc.                       Investor, Inc.                                  (Thailand) Limited
                                                                                                                                                                                                                                                                                                                                                    Parties LLC
                                                                                 Pessoais, Ltda                                   (U.S. - Delaware)                     (U.S. - Delaware)                                     (Thailand)                                                                                                              (“THP”)
                                                                                    (Brazil)                                                                                                                                                                                                                                                      (U.S. - Delaware)
                                                                                 0.01% ownership by external                                                                                                            0.001% owned by each of TPI and TPI
                                                                                   shareholder (individual).                                                                                                            Holdco LLC



                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     99%
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 98%         1% held by THP
                                                                                                     99%                               Tupperware                                                                                                                 Tupperware                                                      Premiere                                                                                                                                                                                                            Premiere Brands                                                                        1% held by TBC

                                                             Tupperware                                                               Products, Inc.                                                                                                              International                                                 Products, Inc.                                            Dart Financial                                        Armand                     Deerfield                                                                    International                                                                                                                       Tupperware de                               Tupperware de                 Newco Logistica e
              BeautiControl, Inc.
                                                             Turkey, Inc.                            Dart Manufacturing                   (“TPI”)                                                                                                             Holdings Corporation                                                 (“PPI”)                                                Services, Ltd.                                      Dupree, Inc.             Land Corporation                                                                Holdings BV                                                         Tupperware del                                                   Costa Rica, S.A.                            Guatemala, S.A.               Participacoes Ltda,
              (U.S. – Delaware)
                                                           (U.S. - Delaware)                           India Pvt. Ltd.               (U.S. - Delaware)                                                                                                              (“TIHC”)                                                   (U.S. - Delaware)                                        (U.S. – Delaware)                                   (U.S. – Delaware)           (U.S. - Delaware)                                                              (Netherlands)                                                      Ecuador Cia. Ltda.                                                 (Costa Rica)                                (Guatemala)                        (Brazil)
                                                                                                           (India)                                                                                                                                              (U.S. - Delaware)                                                                                                                                                                                                                                                                          1% owned by THP LLC                                                (Ecuador)
                                                                                                               1% owned by
                                                                                                                   PPI                                                                                                                                                                                                                          99.87%

                           Premiere Products                                                                                                                                                                                                                                                                                                                      0.13% owned by
  BC International                                                                                                                                        TPI HoldCo LLC                                                                                                                                                                                         Dart Industries Inc.                                                                                                                                                                                                                                                                                                   Premiere Servicios de
                         Brands of Canada, Ltd.                   Istanbul                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                Tupperware                União Sul Comercial
 Cosmetic & Image                                                                                                                                         (U.S. - Delaware)                                                                                                                                        Tupperware                             Tupperware Brands                                           Tupperware                               Dartco
                                                                   Turkey                                                                                                                                                                                                                                                                                                                                                                                                                Premiere Brands                                                                                                                                                                                 Administracion S de
   Services, Inc.            (TW Canada/                                                                Dart Industries                                                                                                                                                                                         Singapore Pte. Ltd.                          Korea Ltd.                                             Distributors, Inc.                   Manufacturing, Inc.                                                                        Premiere Brands                                                                                                 0.0019% owned by
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Panama, S.A.                de Plásticos Ltda
                                                                   Branch                                                                                                                                                                                                                                                                                                                                                                                                               International, LLC                                                                                                                                                                               RL de CV (“PSA”)
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            Case 24-12156-BLS




 (U.S. – Delaware)            BC Canada)                                                                                                                                                                                                                                                                                                                       (Korea)                                              (U.S. - Delaware)                                                                                                            Int’l Coöperatief U.A.                                                                                             Tupperware Brands                                                      (Panama)                       (Brazil)
                                                                                                      (New Zealand) Ltd                                                                                                                                                                                            (Singapore)                                                                                                                           (U.S. – Delaware)              (U.S. – Delaware)                                                                                                                                                                 Corporation        (Mexico)
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      (Netherlands)                                                                                                                                        Ÿ                                                        International Investor, Inc. owns 0.01%
                                                                                                        (New Zealand)                       99%               1%
                                                                              99%
Beauty Products, Inc.                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     Tupperware Brands                                                                                   50.04%
                                                                                                                                       PT Tupperware                                                                                                                   Tupperware                                                                                                                                                                                                                                   America
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            Latin 90%                                                                                                                                                                       Tupperware                              Tupperware de El
 (U.S. – Delaware)                                                                                                                                                                                                                                                                                                                                   Tupperware
                                                                                                                                     Indonesia Services                         Tupperware                          Diecraft Australia                               Nederland B.V.                              Tupperware                                                                                                                                                                                Holdings, L.L.C.                                                                                                                                                               Honduras, S de RL                        Salvador, SA. de CV
                                                                                                     Dart Industries                    (Indonesia)                                                                                                                                                                                              International Capital                                                                                                                                                                                                                           0.004%                                                                                      (Honduras)                               (El Salvador)
                                             P.T. Tupperware                                                                                                                  Australia Pty. Ltd.                       Pty Ltd.                                       (“TNBV”)                              Global Centre SARL                                                                                                                                                                              (U.S. - Florida)                           Premiere
                                                                                                     Hong Kong Ltd                                                                                                                                                                                                                                       DAC                                                                                                                                                                                                                                                                                                  10%
                                                Indonesia                                                                                                                        (Australia)                           (Australia)                                    (Netherlands)                               (France)                                                                                                                                                                               (Netherlands Managed)                        Brands LLC
                                                                                                                                                                                                                                                                          f/k/a Tupperware                                                             (Ireland)
                            1% held by THP     (Indonesia)                                            (Hong Kong)                                                                                                                                                                                                                                                                                                                                                                                                                                                                             49.956%
                                                                                                                                                                                                                                                                     International Holdings B.V.                                                                                                                                                                                                                                                  (U.S.) (NL managed)
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       Tupperware
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              Tupperware                                                                                                                                                                        Tupperware                              (Portugal)
                                                    95%                                                                                                                                                                                                                                                                                                                                                                                                                                                   BrandsAmericas B.V.                                                                             Tupperware                                                                            Iberica S.A.                       Artigos Domesticos
                                                                                                                                                                                        Tupperware General                               Tupperware                                                                                         Tupperware                                                                                                                                                       (Netherlands)                                                                              Services Mexico
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            Doc 2




                                                                                                                                                                                                                                                                                      Tupperware Southern                                                                                                   Tupperware                                                                                                                                                                                                                                                                            (Spain)                           Unipessoal, Lda.
                                                P.T. Cahaya                                                                                                                               Services N.V.                                  Egypt Ltd.                                          Africa                                        Belgium N.V.                                                     Products AG                                                                                  (Netherlands Managed)                                                                           S de RL de CV               90%                                                  THP LLC owns 0.003%.                          (Portugal)
                                                                             Tupperware Brands                      Tupperware Malaysia
                                             Prestasi Indonesia                                                                                                                             (Belgium)                                      (Egypt)                                      (Proprietary) Ltd                                    (Belgium)                                                       (“TPAG”)                                                                                          ADA owns 10%                                                                                 (Mexico)
                                                                             Malaysia Sdn. Bhd.                      Services Sdn. Bhd.
                                                                                                                                                                                              THP LLC owns 1%                         0.01% owned by THP LLC
                                                                                                                                                                                                                                                                                         (South Africa)                                    Owns Molds                                                       (Switzerland)                                                                                                                                                                                                                                                                         99%
                                                (Indonesia)                     (Malaysia)                               (Malaysia)
                                                                                                                                                                                                                                                                                                                                         0.002% owned by THP LLC                                                                                                                                                                                                                                                                               Tupperware Brands
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             Dart do Brasil                                                                                                                      Argentina SA
                                                                                                                                                                                             Tupperware                          Tupperware Morocco                                                                                       Tupperware                                                                                                                                                                                                                                                                                              (Argentina)                                                        Tupperware                   Tupperware
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               Industria e                                                                                                                                                        Inversiones
                                                                                                                                                                                            Vietnam LLC                                                                                  Tupperware d.o.o.                            France S.A. (France)                                                                                                                                                                                                                                                                                                                                                        Industria Lusitana           (Portugal) Artigos
                                                                                                                                                                                                                                    S.A.R.L.A.U.                                                                                                                                                                                                                                                             Comercio Ltda.                                                                                                                                                       TWPT, C.A.
                                                                                                                                                                                              (Vietnam)                                                                                      (Croatia)                                    Owns Molds                                                                                                                                                                                                                                                                                                                                                                  de Artigos                Domésticos Lda
                                                                                                                                                                                                                                     (Morocco)                                                                                                                                                                                                                                                                  (Brazil)                                                                                                                                                          (Venezuela)
                                                                                                                                                                                                                                                                                                                                      0.004% owned by TW Global Centre                                                                                                                                                                                                                                                                                                                                           Domesticos, Limitada
                                                                                                                                                                                                                                                                                                                                                                                             Tupperware              Tupperware Brands                                                                                                                                                                                                                                                                                                         Sucursal en España
                                                                                                                                                                                                                                                                                                                                                   SARL                                                                                                                                                                                                                                                                                                                    0.01% owned by external shareholder
                                                                                                                                                                                                                                                                                                                                                                                            Colombia SAS            Asia Pacific PTE Ltd.                                                                                                                                                                                                                                                                             (Portugal)                    (Spain)
                                                                                                                                                                                            Tupperware                                                                                                                                                                                       (Colombia)                  (Singapore)                                                                                     0.000001% owned by Premiere                   Dart,
                                                                                                                                                                                                                                         Tupperware                                          Tupperware                                                                                                                                                                                                                    Brands Int’l Coöperatief U.A.                                                                       SASL HoldCo, LLC
                                                                                                                                                                                        Bangladesh Pvt. Ltd                                                                                                                                                                                                                                                                                                                                                        S.A. de C.V.                   99.999999%
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           (Netherlands)                                                                        (U.S. - Delaware)
                                                                                                                                                                                                                                          Israel Ltd.                                      Kazakhstan LLP
                                                                                                                                                                                           (Bangladesh)                                                                                                                                                                                                                                                                                                                                                              (Mexico)
                                                                                                                                                                                                                                            (Israel)                                        (Kazakhstan)
                                                                                                                                                                                           0.01% owned by THP LLC



                                                                                                                                                                                                                                     Fuller Cosmetics                                                                                                                                                                                                                                                                                                                                                                                   0.02941%
                                                                                                                                                                                        Tupperware Trading
                                                                                                                                                                                                                                     Venda Direta De                                               Tupperware                   Tupperware
                                                                                                                                                                                        Services (Shenzhen)
                                                                                                                                                                                                                                     Cosmeticos Ltda                                               Italia S.p.A.               Ukraine, LLC
                                                                                                                                                                                             Co., Ltd.                                                                                                                                                                                                                                                                                                                                                        Tupperware Brands                                                Administradora Dart,
                                                                                                                                                                                                                                          (Brazil)                                                    (Italy)                    (Ukraine)
                                                                                                                                                                                              (China)                                                                                                                                                                                                                                                                                                                                                            Mexico, S.                                                      S. De RL de CV
                                                                                                                                                                                                                                      0.01% owned by THP LLC
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        98%
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                de RL de CV                                                          (“ADA”)
                                                                                                                                                                                                                                                                                                                                Tupperware                                                                                                                                                                                                                        (Mexico)                                                           (Mexico)
                                                                                                                                                                                         Tupperware Brands                              Dart de                                              Tupperware
                                                                                                                                                                                                                                                                                                                              Czech Republic,                                                                                                                                                                                                                  2% Owned by Premiere Brands,                                     0.00002% ownership by
                                                                                                                                                                                             Japan Ltd.                              Venezuela, C.A.                                       Osterreich GmbH                                                                                                                                                                                                                                                       LLC (U.S.) (NL managed)                                        Premiere Brands, LLC (U.S.)
                                                                                                                                                                                                                                                                                                                                 Spol.s.r.o.                                                                                                                                                                                                                                                                                    (NL managed)
                                                                                                                                                                                               (Japan)                                (Venezuela)                                              (Austria)
                                                                                                                                                                                                                                                                                                                                  (Czech)
                                                                                                                                                                                                                                                                                                                                                              THP LLC owns 0.01%
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            Filed 09/17/24




                                                                                                                                                                                                                                                                                           Nutrimetics Intl.
                                                                                                                                                                                          Tupperware Asia                                                                                                                      Tupperware
                                                                                                                                                                                                                                                                                         Commercial Import
                                                                                                                                                                                          Pacific Holdings                                                                                                                    Eastern Europe
                                                                                                                                                                                                                                                                                            Export S.A.
                                                                                                                                                                                            Private Ltd                                                                                                                            s.r.l.
                                                                                                                                                                                                                                                                                         (Under Liquidation)
                                                                                                                                                                                            (Mauritius)                                                                                                                         (Romania)
                                                                                                                                                                                                                                                                                              (Greece)


                                                                                                                                                                                                                                                                                             Tupperware                        Tupperware
                                                                                                                                                           Tupperware East                         98.97%                              99.9999%                                           U.K. & Ireland Ltd.                 Bulgaria EOOD
                                                                                                                                                              Asia, LLC                                                                                                                         (U.K.)                          (Bulgaria)
                                                                                                                                                                                              1.03091% owned by
                                                                                                                                                           (U.S. - Delaware)             Tupperware Home Parties, LLC
                                                                                                                                                                                                                                   Tupperware Brands
                                                                                                                                                                                            Tupperware
                                                                                                                                                                                                                                    Philippines, Inc.
                                                                                                                                                                                       India Private Limited
                                                                                                                                                                                                                                      (Philippines)                                            Tupperware                      Tupperware
                                                                                                                                                                                              (India)
                                                                                                                                                                                                                                                                                              Hellas S.A.I.C.                  Hungary Kft.
                                                                                                                                  Tupperware                                                                                    0.00001% of the shares are owned in total
                                                                                                                                                                                           1.03% owned by THP LLC                by 6 employees and 1 external director.                        (Greece)                        (Hungary)
                                                                                                                                   (Shanghai)             Tupperware (China)
                                                                                                                                                                                                                                                                                                                                                              THP LLC owns .048%
                                                                                                                                Industry Co. Ltd.           Company Ltd.
                                                                                                                                     (China)                   (China)
                                                                                                                                                                                                                                                                                                   Tupperware                  Tupperware
                                                                                                                                                                                                                                                                                                   Nordic A/S                 Polska Sp.z.o.o
                                                                                                                                                                                                                                                                                                   (Denmark)                     (Poland)

                                                                                                                                                          Tupperware Hong
                                                                                                                                                          Kong Procurement
                                                                                                                                                                                                                                                                                             Tupperware
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            Page 53 of 53




                                                                                                                                                                Ltd.
                                                                                                                                                            (Hong Kong)                                                                                                                   Deutschland GmbH
                                                                                                                                                                                                                                                                                             (Germany)

                                                                                                                                                                                                                                                                                                          10%


                                                                                                                                                                                                                                                                                            Tupperware LLC
                                                                                                                                                                                                                                                                                                                      90%
                                                                                                                                                                                                                                                                                               (Russia)
